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 1                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
 2                                 EASTERN DIVISION
 3                                            )
       UNITED STATES OF AMERICA,              )   Case No. 17 CR 281
 4                                            )
                           Plaintiff,         )
 5                                            )
                    vs.                       )   Chicago, Illinois
 6                                            )   December 6, 2018
       CARLOS R. MEZA,                        )   8:36 a.m.
 7                                            )
                           Defendant.         )
 8
 9                                 VOLUME 3
                    TRANSCRIPT OF PROCEEDINGS - Jury Trial
10             BEFORE THE HONORABLE ELAINE E. BUCKLO, and a Jury
11
       APPEARANCES:
12
       For the Plaintiff:              MR. JOHN R. LAUSCH, JR.
13                                     UNITED STATES ATTORNEY
                                       BY: MR. RICK D. YOUNG
14                                          MS. KAITLIN KLAMANN
                                       Assistant United States Attorneys
15                                     219 South Dearborn Street
                                       Chicago, Illinois 60604
16
       For the Defendant:              MR. JOSHUA B. KUTNICK
17                                     900 West Jackson Boulevard # 5
                                       Chicago, Illinois 60607
18
                                       AND
19
                                       LAW OFFICE OF MINA ZARDKOOHI
20                                     BY: MS. MINA ZARDKOOHI
                                       53 West Jackson Boulevard
21                                     Suite 1615
                                       Chicago, IL 60604
22
       Court Reporter:                 SANDRA M. MULLIN, CSR, RMR, FCRR
23                                     Official Court Reporter
                                       219 S. Dearborn Street, Room 2260
24                                     Chicago, Illinois 60604
                                       (312) 554-8244
25                                     sandra_mullin@ilnd.uscourts.gov
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 1            (Proceedings heard in open court. Jury out.)
 2                  THE COURT: Good morning. Thank you for being
 3     prompt.
 4                  MR. YOUNG: Good morning, your Honor.
 5                  THE COURT: Okay. So what is your response?
 6                  MR. YOUNG: Your Honor, we object. I think, you
 7     know, a theory of the defense instruction can be appropriate
 8     in certain cases, but one of the factors you should consider
 9     is whether it's necessary, whether it's redundant. I think,
10     in this case, it's neither necessary, and it is redundant.
11     It's basically just telling them if the government doesn't
12     prove the elements of the offense, namely knowledge and
13     intent to defraud, they should be acquitted. That is
14     obviously covered by the elements instruction. I don't see
15     what this serves with respect to the overall instructions,
16     your Honor.
17                  THE COURT: What does it add to instruction
18     Number 16?
19                  MR. KUTNICK: Your Honor, it focuses the jury
20     specifically on knowledge and intent to defraud. And I know
21     that that is touched on in 16. However, the instruction here
22     that I've laid out really directs them to look specifically
23     at this -- the mens rea aspect of the charge.
24                  THE COURT: So does 16. It just adds materiality
25     or --
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 1                  MR. KUTNICK: Your Honor, this has obviously been
 2     the essential issue in this case. One, that my -- my
 3     argument is that many jurors don't necessarily understand the
 4     importance of the mental state element of a criminal charge.
 5     This directly --
 6                  THE COURT: Well, then, the jury instructions that
 7     they give us to use are not adequate, is what you're saying.
 8     Let me see what it adds. I didn't think it added -- it's --
 9     see, my first concern is that it could be confusing because
10     we have 16, which says it's the government's burden to prove
11     each element. And so I'm not sure what -- that it wouldn't
12     be confusing to then single out and say, it's the
13     government's burden to prove beyond a reasonable doubt these
14     two elements.
15                  MR. YOUNG: I mean, I think the redundancy creates
16     the problem, your Honor, in the sense that, just like we are
17     sitting here looking at them, trying to determine, is this
18     really saying anything different, and I don't think it really
19     is at the end of the day, the jury may be doing the same
20     thing. And unlike ourselves, the juries are not attorneys
21     and experts in the law. There is nothing here that is not
22     encompassed within the instruction. Element Number 2 clearly
23     says that you must find, and the government must prove beyond
24     a reasonable doubt, that the defendant did so with the intent
25     to defraud. And then there is additional instructions on
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 1     what constitutes an intent to defraud. So I don't think
 2     there is any lack of clarity that the jury must find that the
 3     defendant possessed a requisite intent to defraud, nor is
 4     there any lack of clarity that the jury must find that the
 5     defendant knowingly participated in the scheme as that is
 6     clearly defined in Element 1 and is also -- there is an
 7     instruction specifically describing what knowledge means. I
 8     don't think it's going to escape them that there is an intent
 9     requirement. You know, I think -- and I think, your Honor
10     makes a good point that, to some degree, this causes
11     additional confusion. I didn't necessarily focus on this
12     earlier. But this may -- it is the government's burden to
13     prove beyond a reasonable doubt all the elements of the
14     offense, not simply that there was knowledge and intent to
15     defraud. So that actually might be a miss, sort of somewhat
16     confusing.
17                  THE COURT: What is missing, in your opinion, in --
18     I mean, in Instruction Number 16, which is the elements
19     instruction? And it covers the burden of proof, and says, if
20     you don't find -- if you find that the government hasn't
21     proved anything, then you find for the defendant.
22                  MR. KUTNICK: I just think specifically my third
23     paragraph, your Honor, kind of brings it all together and
24     tells the jury you can have doubt about just this one element
25     and find him not guilty. I think it's a clearer statement of
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 1     the mental state instruction.
 2                  MR. YOUNG: May I respond, your Honor?
 3                  THE COURT: Yes.
 4                  MR. YOUNG: I will just note that the last
 5     paragraph of the elements instruction says, if, on the other
 6     hand, you find from your consideration of all the evidence
 7     that the government has failed to prove any one of these
 8     elements. So it clearly says that the failure to prove any
 9     one of the four elements, you know, knowledge, intent, the
10     false representations or the wiring, you must acquit. So I
11     think that's made clear from the instructions. And obviously
12     counsel had the opportunity to emphasize that fact during his
13     argument.
14                  THE COURT: I don't think this is really, I mean, a
15     separate theory of defense instruction. I think it's
16     absolutely covered by this instruction. And to put -- I
17     can't think of a way to put this in without creating
18     confusion. I mean, I don't think -- I mean, maybe what
19     you're saying is you're not even -- you're not disputing
20     Elements 3 and 4, but I don't know if I can take those out.
21                  MR. YOUNG: No, Judge, I think those would be
22     instructed on all four --
23                  MR. KUTNICK: No, I wouldn't want them taken out
24     either, Judge, even though, obviously, those are not issues
25     that we concentrated highly on in our defense, you know, the
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 1     wire communications.
 2                  THE COURT: Really all it is is emphasizing the
 3     first two. So, no, I'm going to leave them as they are. Do
 4     you have the instructions done?
 5                  MR. YOUNG: Yes, your Honor.
 6                  THE COURT: Okay. If they get here -- if they all
 7     get here earlier, we can start a few minutes early.
 8                  MR. KUTNICK: Okay. Thank you, Judge.
 9                  THE COURT: Okay. Thank you.
10            (Recess from 8:24 a.m. to 9:00 a.m.)
11                  THE COURT: Our juror says he is stuck on a bus, he
12     is getting off, he is going to walk. He is at Congress and
13     Michigan. So that really means that it's going to be another
14     20 minutes, or so. The alternative is we excuse him.
15                  MR. YOUNG: I have no objection, your Honor.
16                  MR. KUTNICK: Which juror is it?
17                  THE CLERK: Mr. Robinson, Wyndell Robinson.
18                  MR. KUTNICK: Can I have one moment, your Honor.
19                  THE COURT: Certainly.
20                  MR. KUTNICK: Yes, we're not doing anything, so.
21                  We'd like to give him a few more minutes.
22                  THE COURT: Well, I'm just telling you how long
23     many minutes it will be. I mean, it probably means that
24     we're really going to start at about nine -- close to 9:30.
25     You know, it's your privilege.
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 1                  MR. KUTNICK: I'd like to wait, your Honor.
 2                  THE COURT: Okay. If he isn't here by 9:30, I'll
 3     deal with him separately, but --
 4                  MR. KUTNICK: Fair enough.
 5                  THE COURT: -- we will excuse him.
 6                  MR. KUTNICK: Fair enough, your Honor.
 7                  THE COURT: Okay.
 8            (In open court. Jury in at 9:16 a.m.)
 9                  THE COURT: Please be seated. Good morning. All
10     right. Let's finish up.
11                  MR. KUTNICK: Thank you, your Honor. Recall Carlos
12     Meza to the stand.
13                  THE COURT: Yes. Mr. Meza, do you understand that
14     you are still under oath in this case?
15                  THE DEFENDANT: Yes.
16                  THE COURT: Please be seated.
17                  CARLOS MEZA, DEFENDANT, PREVIOUSLY SWORN,
18                      REDIRECT EXAMINATION (Continued.)
19     BY MR. KUTNICK:
20     Q.     Good morning, Carlos.
21     A.     Good morning.
22     Q.     Do you have an association with a company called Chicago
23     Trucking?
24     A.     Yes, I do. I own it.
25     Q.     You own it?
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 1     A.     Yes.
 2     Q.     Okay. Did you contribute any money to Virginia
 3     Worldwide through the Chicago Trucking Company?
 4     A.     Yes. Yes, I did.
 5     Q.     When was that?
 6     A.     In May 2013, something like that.
 7     Q.     Was it '12 or '13?
 8     A.     '13, or May, something.
 9     Q.     Are you sure?
10     A.     Yes.
11     Q.     Okay. Did -- how much money did you invest?
12     A.     20,000.
13     Q.     Okay. I'm going to show you -- I'm showing you what's
14     been previously marked as Defendant's Exhibit No. 35 for
15     identification. Could you take a look at that. What is
16     that?
17     A.     It's a chart flow.
18     Q.     Okay. Are you familiar with that chart?
19     A.     Yes.
20     Q.     Does that chart indicate the investment that you just
21     testified about?
22     A.     Yes.
23     Q.     Is that chart accurate, by the way?
24     A.     Yes.
25     Q.     That section of it?
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 1     A.     This section, yes.
 2     Q.     Do you still attend the same church?
 3     A.     Yes.
 4     Q.     Have you attended it the entire time, the last many
 5     years?
 6     A.     Yes.
 7     Q.     And do you still go to Ray's garage?
 8     A.     Still go to Ray's garage.
 9                   MR. KUTNICK: I have nothing further, your Honor.
10                   THE COURT: Thank you. Any more?
11                   MR. YOUNG: Nothing, your Honor.
12                   THE COURT: Okay. All right. You are excused.
13     Thank you.
14            (Witness excused.)
15                   THE COURT: I think we're ready to proceed?
16                   MR. KUTNICK: We are, your Honor.
17                   THE COURT: Oh, right, go ahead.
18                   MR. KUTNICK: I have no further live witnesses.
19     However, we would be seeking to admit our exhibits -- some of
20     the exhibits that we are --
21                   THE COURT: All right. Could you just list those
22     so we --
23                   MR. KUTNICK: Yes, I can.
24                   THE COURT: -- make sure we have them on the
25     record.
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 1                  MR. KUTNICK: It's going to be Defense Exhibits 27
 2      and 30 through 34, which are the recordings.
 3                  It's going to be Defense 28, 29, 16, 17, 24, and
 4      36.
 5                  THE COURT: Thank you. Any objection?
 6                  MR. YOUNG: One moment, your Honor.
 7                  THE COURT: Yes.
 8                  MR. YOUNG: No objection, your Honor.
 9                  THE COURT: All right. They're admitted.
10            (Said exhibits received in evidence.)
11                  MR. KUTNICK: Your Honor, with that, on behalf of
12      Carlos Meza, defense rests.
13                  THE COURT: Thank you.
14                  MR. YOUNG: We have no rebuttal case, your Honor.
15                  THE COURT: All right. Are you ready to proceed?
16                  MR. YOUNG: Yes, your Honor.
17                  THE COURT: Okay. Go ahead.
18                 CLOSING ARGUMENT ON BEHALF OF THE GOVERNMENT
19                  MS. KLAMANN: Your Honor, may I proceed?
20                  THE COURT: Yes, please.
21                  MS. KLAMANN: Carlos Meza wanted to get rich quick.
22      In fact, he needed to get rich quick. In early 2012, he was
23      in financial trouble. The income from his rental properties
24      wasn't enough for him to live on, and his largest property
25      was about to be lost in bankruptcy. He needed money, and he
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 1      needed it fast.
 2                  So when he heard about investment opportunities
 3      that would seemingly generate tens of millions of dollars
 4      within a matter of months, he wanted in. There was just one
 5      obvious problem: He didn't have any money to invest. So
 6      what did he do? He devised a plan to get that money from his
 7      friends, to use his friend's money to pay into the
 8      investments and to reap the profits. And so that's what he
 9      did. He went to his friends and to his fellow church
10      members, and he lied to them. He told them whatever he
11      needed to tell them in order to get their money. He lied to
12      them about his background, telling them that he was a
13      successful businessman with experience in these types of
14      investments and with abundant resources. He lied to them
15      about the risk associated with these investments, telling
16      them that he could personally guaranty their investments,
17      even though he didn't have the money to back it up. He lied
18      to them about his own participation in these investments,
19      telling them that he had skin in the game and he paid money
20      into the pot with Bob Adams. But he hadn't. And, finally,
21      he lied to them about the use of their money. He told them
22      that all of their money was going towards these investments,
23      when, in fact, he kept parts of it in order to pay his own
24      expenses. And defendant told all of these lies with one goal
25      in mind: To get the victim's money. Ladies and Gentlemen,
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 1      that's fraud, and that's why we're here today.
 2                  Let's begin by talking about the charges against
 3      defendant. Defendant is charged with two counts of wire
 4      fraud. Count One charges defendant with wire fraud in
 5      connection with Scott Spencer's initial $200,000 investment
 6      that was supposed to go to Bob Adams. Count Two charges
 7      defendant with wire fraud in relation to Cordell Crane's
 8      initial $50,000 investment that was also supposed to go to
 9      Bob Adams.
10                  But let's step back. What is wire fraud? At the
11      end of this case, after the attorneys are done arguing, Judge
12      Bucklo is going to instruct you on the law. And I expect she
13      is going to tell you that the government has the burden of
14      proving four things beyond a reasonable doubt in order to
15      establish that the defendant committed the crime of wire
16      fraud.
17                  The first of these elements is that the defendant
18      knowingly devised or participated in a scheme to defraud.
19      Second, the government must show that the defendant did so
20      with the intent to defraud. Third, the scheme to defraud
21      must have involved a materially false or fraudulent pretense,
22      representation or promise. Finally, for the purpose of
23      carrying out the scheme, or attempting to do so, the
24      defendant must have caused an interstate wire communication
25      to take place in the manner charged in the indictment.
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 1                  In this case, over the last few days, the
 2      government has presented more than enough evidence to
 3      establish each of these four elements. And I want to talk
 4      about that evidence. But before I do, I think it will be
 5      helpful to talk a little bit more about these elements and
 6      what they mean in plain English and what they mean in our
 7      case.
 8                  So let's start with the first element, the scheme
 9      to defraud. Judge Bucklo is going to provide you with the
10      legal definition of a scheme to defraud. Put very simply, a
11      scheme to defraud is a lie told to get money. Now, over the
12      last few days in this case, you've heard about a couple of
13      different schemes. You've heard schemes that are -- you've
14      heard about schemes that were allegedly cooked up by Bob
15      Adams or Terry Barnes. Defendant has denied any knowledge of
16      those schemes and claims that he didn't know those
17      investments were fraudulent. He even played for you, on his
18      direct testimony, several phone calls that he recorded with
19      those individuals or with people associated with those
20      individuals.
21                  But that's not what this case is about. This case
22      isn't about what those individuals said to the defendant.
23      This case is about what the defendant said to his victims:
24      Scott Spencer, Cordell Crane, and Ray Yacoub. This case
25      isn't about the scheme concocted by Bob Adams or Terry
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 1      Barnes. This case is about the scheme concocted by Carlos
 2      Meza, all on his own, the scheme to lie to his victims in
 3      order to get their money.
 4                  The second element, intent to defraud. This is the
 5      definition that I expect Judge Bucklo will give you for
 6      intent to defraud. A person acts with intent to defraud if
 7      he acts knowingly with the intent to deceive or cheat the
 8      victim in order to cause a gain of money to the defendant or
 9      another.
10                  We know in this case that the defendant acted with
11      the intent to defraud because he repeatedly lied to his
12      victims in order to get their money. I expect Judge Bucklo
13      will tell you, and you'll see in the copy of the indictment
14      that goes back with you, that the government has charged a
15      number of lies. And, again, I'm going to talk about those
16      lies. But Judge Bucklo is going to tell you that the
17      government must prove at least one of those lies. The
18      government doesn't have to prove every single lie charged in
19      the indictment.
20                  The third element also relates to defendant's lies,
21      but the third element doesn't just require that defendant
22      told a lie and made a false promise, or made a false or
23      fraudulent pretense. The third element requires that those
24      lies be material.
25                  So what does it mean for a lie to be material?
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 1      This is the guidance that I expect Judge Bucklo will give you
 2      with respect to when a lie is material: A false or
 3      fraudulent pretense, representation, promise or concealment
 4      is material if it is capable of influencing the decision of
 5      the person to whom it was addressed. It is not necessary
 6      that the false or fraudulent pretense, representation,
 7      promise or concealment actually have that influence or be
 8      relied on by the alleged victim, as long as it is capable of
 9      doing so. That's a lot of words. Put very simply, a lie is
10      material if it is important, if it is capable of influencing
11      the decision of the listener. In this case, the victims.
12      It's not necessary that it actually have influenced the
13      victims' decision to give the defendant their money. It's
14      just important if it was capable of influencing them.
15                  So I want to stop here because, as maybe you have
16      picked up, the evidence that proves each of these first three
17      elements of the charges of wire fraud are the same. And so I
18      want to spend some time talking about that evidence while
19      these elements and these concepts are fresh in your mind.
20      And we'll come back after we review this evidence and talk
21      about the fourth and last element.
22                  The evidence that establishes these first three
23      elements of wire fraud in this case are defendant's lies.
24      The lies that he told in order to get the victim's money.
25      And there are four categories of lies that he told. He lied
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 1      about his background. He lied about the risk associated with
 2      these investments. He lied about his participation in the
 3      investments. And he lied about where their money was going.
 4      I'm going to talk about each of those four categories of lies
 5      and show you the evidence we have that establishes each of
 6      these three elements of wire fraud with respect to each of
 7      those lies.
 8                  Let's start with defendant's lies about his
 9      background. Defendant told Scott Spencer and Cordell Crane
10      that he was a multimillionaire and had a high net worth.
11      Defendant also told Scott Spencer that he owned 100 trucks in
12      his trucking business. Defendant told Scott Spencer he had
13      experience in these types of investments and knew the traders
14      involved. And defendant told Scott Spencer and Cordell Crane
15      that he had millions of dollars in South America that he
16      could use to cover the victims' investments if the
17      investments fell through.
18                  Now, defendant testified in this case. And I'm
19      going to talk about defendant's testimony a little bit later.
20      But defendant testified, and he admitted, he is not a
21      multimillionaire. He doesn't own 100 trucks. He doesn't
22      have experience in these types of investments. And he
23      doesn't know the traders involved. And, finally, defendant
24      admitted that he doesn't have millions of dollars in South
25      America. These were lies. And these lies about his
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 1      background were part of his scheme to defraud because they
 2      were told to the victims in order to get their money. These
 3      lies evidence his intent to defraud. They were told to make
 4      the victims think that the defendant was successful,
 5      knowledgeable and connected. In short, in order to get the
 6      victims to trust the defendant with his money. And it
 7      worked. We heard from Scott Spencer and Cordell Crane that
 8      defendant's apparent successful background was a factor in
 9      their decision to give him their money.
10                  Defendant also lied repeatedly about the risk
11      associated with his investments. You heard from all three
12      victims, Scott Spencer, Cordell Crane, and Ray Yacoub, that
13      defendant told them that their investments were 100 percent
14      personally guaranteed by him. And the victims' testimony was
15      corroborated by the documents. We saw defendant's
16      100 percent personal guaranty in the agreement that he signed
17      with Cordell Crane.
18                  Now, Cordell Crane testified that defendant
19      provided him with this document. That this was -- that this
20      document was created by the defendant and that defendant
21      signed this document in Cordell Crane's presence. That's
22      important because this document is defendant's statement.
23      And in this document, he is telling Cordell Crane that he can
24      guaranty a return of 20 to 30 percent of his $50,000
25      investment by December 1st, 2012.
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 1                  Now, we know, at the time that he made these
 2      promises to Cordell Crane, he didn't have enough money to
 3      cover this investment. How do we know that? Because we saw
 4      defendant's tax returns. We know that, in 2012, when he made
 5      this promise, defendant made half the amount of money that
 6      Cordell Crane was investing here. He made $25,000 a year.
 7      We also know, on defendant's own admission, that he doesn't
 8      have millions of dollars, he is not a multimillionaire.
 9                  We also know defendant couldn't guaranty this
10      investment at the time that he made these promises based on
11      the hope that this investment would pay out because he
12      entered into this agreement with Cordell Crane on
13      September 10, 2012. And you'll remember that Scott Spencer
14      also invested in this same program with Bob Adams. And Scott
15      Spencer paid his investment of $280,000 in the middle of
16      June, 2012. Scott Spencer told you that he understood, from
17      the defendant, that he would receive his returns on this
18      investment within two months, or by the middle of August.
19      Yet, here is defendant making a promise to Cordell Crane that
20      Cordell Crane will get a return on his investment, specific
21      return, by a date certain, even though the returns on Scott
22      Spencer's investment in the same program with Bob Adams was
23      already late. Defendant was in no position to make these
24      promises on the date that he made them to Cordell Crane.
25                  We also see defendant making these personal
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 1      guarantees in the agreement with Cordell Crane for his
 2      $250,000 investment. Again, Cordell Crane testified, and he
 3      told you that he actually created this document. But he told
 4      you that the terms of this document were supplied by the
 5      defendant. And the defendant signed this document in
 6      Mr. Crane's presence, on July 7, 2013. So, again, this
 7      document is defendant's statement. This is defendant telling
 8      Cordell Crane, again, that, in exchange for his $250,000
 9      investment, money that the defendant knew was coming from
10      Cordell Crane's retirement account, that defendant would
11      guaranty him a return of $5 million, paid in five different
12      installments of $1 million each a month, with the first
13      return being paid two weeks after they enter into this
14      agreement. Again, nothing has changed with the defendant's
15      financial picture at this time. He doesn't have any more
16      money than he did in September 2012. We saw his tax returns
17      for 2013. He also made about $25,000 a year that year. But
18      this time Cordell Crane's investment is ten times defendant's
19      annual income. Yet, he is telling Cordell Crane that he can
20      pay him back.
21                  And the time periods provided for in this document
22      are also significant. He is telling Cordell Crane that he'll
23      pay him -- that he'll pay him a million dollars, the
24      investment will generate a million dollars, within two weeks
25      of signing this agreement. You heard from Cordell Crane that
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 1      he had many conversations with defendant before he entered
 2      into this investment. He shared with defendant that he would
 3      be using his retirement funds, and he shared with defendant
 4      that he was concerned about his wife's approval in this
 5      investment. But he also told defendant that his wife was out
 6      of town and that she would be back in two weeks. So
 7      defendant here is telling Cordell Crane whatever he needs to
 8      tell him in order to get his money. He is guaranteeing him a
 9      $1 million payout in two weeks, or by the time his wife
10      returns from vacation. And this investment, if you'll
11      recall, was a separate investment, a separate fund. The Bob
12      Adams investment was his first investment of $50,000. But
13      this $250,000 was supposed to go to Virginia Worldwide or
14      Terry Barnes.
15                  Now, similar to his previous agreement with
16      defendant, Scott Spencer had already invested with Terry
17      Barnes and with Virginia Worldwide. Scott Spencer, if you'll
18      recall from his testimony, paid defendant $40,000 that was
19      supposed to go to Virginia Worldwide in April of 2013, almost
20      three months before defendant enters into this agreement with
21      Cordell Crane. And Scott Spencer told you that he and
22      defendant entered into an agreement where he would provide
23      this $40,000 to defendant and defendant would adhere to a
24      payment schedule where the investments would hit every couple
25      of weeks, maybe even every week. And they memorialized this
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 1      on a white board, this white board. And so here, defendant
 2      is promising Scott Spencer, again in the very same program,
 3      the investment with Virginia Worldwide, that he is going to
 4      get returns on April 26th of $400,000. I think Scott Spencer
 5      testified that these following payments actually related to
 6      his investment with Bob Adams. But this initial return on
 7      April 26th was supposed to come from the Virginia Worldwide.
 8                  Meanwhile, two-and-a-half months later, defendant
 9      is telling Cordell Crane, a father of five, who he knows is
10      emptying his retirement account to invest, that he can get
11      him a million dollars in two weeks on the very same
12      investment that he knows is two-and-a-half months late with
13      Scott Spencer. Defendant was in no position to make these
14      promises.
15                  These were lies. And these lies were part of
16      defendant's scheme to defraud the victims. And they show
17      defendant's intent to defraud, just as I was explaining.
18      Because defendant knew at the time that he was making these
19      representations to Cordell Crane that they weren't true, and
20      that the money would not come through on the dates or in the
21      amounts that he promised. Finally, we know that these lies
22      about defendant's personal guaranty were material because we
23      heard from Cordell Crane and Scott Spencer that his personal
24      guaranty meant something to them, and that he relied on it,
25      and that they relied on it, in giving defendant their money.
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 1                  Defendant also lied to the victims about investing
 2      his own money. Defendant told Scott Spencer that he was
 3      investing his own money in the Bob Adams investment. If
 4      you'll recall, Scott Spencer told you that that investment
 5      was supposed to be that they would rent $10 million from Bob
 6      Adams for a monthly fee of $250,000 a month, and they would
 7      rent it for two months. Scott Spencer would pay the first
 8      month's rent of $250,000, and defendant would pay the second
 9      month's rent. Then, later, after they didn't get their
10      returns on the first two months, defendant represented to
11      Scott Spencer that he would continue to make these $250,000
12      payments. In exchange, Scott Spencer would pay the expenses,
13      the expenses which ended up totaling $400,000.
14                  But you heard from our financial expert, Steve
15      Tremaglio, that he didn't find any evidence of these $250,000
16      payments, or any payments for that matter, to Bob Adams by
17      the defendant. These were lies. And these lies about his
18      own participation were part of his scheme to defraud. He
19      told defendant(sic) that he did this in order to think -- in
20      order to make the defendant(sic)think that he had skin in the
21      game too. In order to make the defendant(sic) think that --
22      in order to make the victim think that the defendant was so
23      confident in these investments that he was putting his own
24      money up. He was putting his money where his mouth is. But
25      he wasn't. And we know that these lies were material because
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 1      Scott Spencer told you that he wouldn't have invested if he
 2      had known that the defendant wasn't investing too.
 3                  Finally, defendant lied to the victims about the
 4      use of their money. He told the victims that all of their
 5      money was going towards these investments. But it wasn't.
 6      He spent some of it. And Steve Tremaglio walked you through
 7      those records. He showed you that defendant opened the
 8      Milwaukee McPherson bank account on May 14, 2012. Two days
 9      later, on May 16th, Scott Spencer paid $200,000 into that
10      account. That was the only money put into that account.
11                  Nine days later, defendant uses that money to buy a
12      condo unit for $28,000. How do we know that that was Scott
13      Spencer's money? There was no other money in the account.
14      It had to be Scott Spencer's money.
15                  Five days later, defendant uses money from that
16      account to buy a minivan for his wife, $23,000. Now, at the
17      time that he buys the car, there has been one deposit into
18      the account, a deposit of $1,500 from his church. Now, that
19      $1,500 doesn't even come close to covering the cost of that
20      minivan, so it's safe to say that the majority of that money
21      came from Scott Spencer.
22                  That same day, defendant pays Barnett Capital
23      $10,000 in legal fees. Again, no other deposits other than
24      the $1,500 from defendant's church. This was Scott Spencer's
25      money.
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 1                  The next day, on May 31st, he writes another check,
 2      $3,000 to pay his bankruptcy attorneys. No other deposits in
 3      the account. This is Scott Spencer's money too.
 4                  Finally, on June 11, 2012, defendant pays Bob
 5      Adams, but he only pays Bob Adams $100,000. Scott Spencer
 6      gave him $200,000. Defendant kept half of Scott Spencer's
 7      money.
 8                  And, Ladies and Gentlemen, the defendant took the
 9      stand in this case, and, again, I'm going to talk about his
10      testimony a little bit later. But he told you that Scott
11      Spencer gave him permission to spend some of his money on
12      expenses related to a development project that Scott Spencer
13      was working on in North Dakota. Look at these expenses.
14      These are personal expenses. These are not business
15      expenses. They're not related to any deal in North Dakota.
16                  We also heard from Scott Spencer that he did not
17      give defendant permission to use his money for anything other
18      than the investments. We saw something similar with respect
19      to Scott Spencer's payment of $80,000. Scott Spencer paid
20      the $80,000 on June 18, 2012. This time, defendant actually
21      paid the money towards the Bob Adams investment on June 19,
22      2012. He paid it to Stubbs Alderton & Markiles LLP. I think
23      those were lawyers that were supposed to be working with Bob
24      Adams. But that very same day, June 19th, we see $30,000
25      paid from Stubbs to a company called SN Servicing
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 1      Corporation. Our financial expert looked into SN Servicing
 2      Corporation, and he told you that it's a loan servicer. And
 3      he told you that that $30,000 was used to pay off a loan made
 4      to Gladys McPherson, defendant's mother. This was Scott
 5      Spencer's money, and defendant was using it to pay his, and
 6      his mother's, expenses.
 7                  Finally, Mr. Tremaglio also talked to you about
 8      Cordell Crane's payment of $50,000. Cordell Crane made this
 9      payment to Milwaukee McPherson on September 19, 2012. At the
10      time he made this payment, the account had been depleted to a
11      mere $71. The same day that he made this wire transfer to
12      Milwaukee McPherson, $47,500 went out to ALSJ to pay off a
13      personal loan. Again, there was very little money in the
14      account when Cordell Crane's money went in. This was Cordell
15      Crane's money, and we know it. We also know that Cordell
16      Crane didn't give defendant permission to spend it. Cordell
17      Crane told you that his understanding, and what defendant
18      explicitly told him, was that his money was going to Bob
19      Adams.
20                  So these lies about where the money was going or
21      how he was going to use the money were part of defendant's
22      scheme to defraud. He told the victims that he was going to
23      use their money towards the investments, even though, at the
24      time he was soliciting their investments, he intended to use
25      it for himself. How do we know that? Because of the short
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 1      amount of time that passes between the time that the victims
 2      paid defendant the money and defendant spent it. For Scott
 3      Spencer, that time was approximately nine days. It hit
 4      defendant's account, and then he began to spend it. For
 5      Cordell Crane, it was even shorter. He spent it on the very
 6      same day. When defendant asked them for this money, he knew
 7      how he was going to use it, and he knew he wasn't going to
 8      put it towards the investment.
 9                  We know these lies about how defendant was going to
10      use the money were material because Scott Spencer and Cordell
11      Crane both told you that, had they known defendant was going
12      to pay his mom's loan off or buy a condo or buy his wife a
13      car, he wouldn't -- neither of them would have given him
14      their money.
15                  So those are the lies. Those are the lies that
16      defendant told in order to get the victims' money. He lied
17      to them about his background, telling them that he was a
18      successful businessman, when he wasn't. He lied to them
19      about the risk associated with the investments, telling them
20      they were guaranteed, when they weren't. He lied to them
21      about where their money was going, saying they were all going
22      toward the investment, when it wasn't. And he lied to them
23      about his participation in the investment with Bob Adams,
24      telling them he had skin in the game too. But he didn't.
25                  Now let's go back to our fourth element. The
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 1      fourth element requires the government to prove that, for the
 2      purpose of carrying out the scheme or attempting to do so,
 3      the defendant caused interstate wire communications to take
 4      place in the manner charged in the indictment. This
 5      requires -- this doesn't require the government to prove that
 6      the defendant himself made a wiring. It's enough that the
 7      defendant caused the wiring. And the defendant -- and the
 8      government has to prove that the wiring traveled across state
 9      lines and that it was for purposes of carrying out the
10      scheme. This element is easily satisfied here.
11                  As you'll remember from the beginning of my
12      argument, there are two charges against the defendant. Count
13      One charges defendant with causing a wiring of $200,000 from
14      Scott Spencer to Milwaukee McPherson on May 16, 2012. And
15      Count Two charges defendant with causing a wiring of $50,000
16      from Cordell Crane to Milwaukee McPherson on September 19,
17      2012. Defendant caused these wirings because he gave the
18      victims the information to wire the money. He told them
19      where to wire it to, and he gave them the account numbers.
20      He caused the wiring.
21                  You also heard a stipulation during this case,
22      which is an agreement among the parties that a fact is true.
23      And that stipulation told you that this wiring crossed state
24      lines.
25                  Finally, you know that these wirings were for the
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 1      purpose of carrying out the scheme because the entire purpose
 2      of this scheme was to get the victims' money. And these
 3      wirings was how the defendant got it.
 4                  Now, I told you earlier that the government has the
 5      burden of proof here, and that burden never shifts to the
 6      defendant. The government has to prove all of those four
 7      elements that I just discussed with you beyond a reasonable
 8      doubt. The defendant doesn't have to put on a case. In this
 9      case, he did, and he testified. As a result, you can
10      evaluate his testimony, his credibility, just like you can
11      the evidence in the government's case. And throughout my
12      argument, I've pointed out various areas in which the
13      defendant -- the defendant's testimony contradicted other
14      evidence in the record. Whether that's evidence that you
15      heard from the victims or other witnesses, or evidence in the
16      documents. Ultimately, it's up to you who you believe.
17                  Ladies and Gentlemen, this case is about the lies
18      that defendant told to get the victims' money. The evidence
19      is clear. Therefore, we ask you to return a verdict, the
20      only verdict that is supported by the evidence, guilty on
21      both counts. Thank you.
22                  THE COURT: Thank you.
23                  MR. KUTNICK: Thank you, your Honor.
24                CLOSING ARGUMENT ON BEHALF OF THE DEFENDANT
25                  MR. KUTNICK: It's not about the lies that may have
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 1      been told or not have been told or the image that was
 2      portrayed because we all portray images. Those images aren't
 3      always exactly accurate. The real thing here, the real issue
 4      is whether or not Carlos Meza had intent to defraud. Those
 5      three words are probably the most important words in the
 6      entire case.
 7                  The Assistant US Attorneys went into the jury
 8      instruction that talks about intent to defraud. And as much
 9      as the government thinks that's important, we think that's
10      very, very important. And so I am going to go over that
11      instruction. But the questions that you all will go back to
12      the jury room and ask yourself, the first one: Did Carlos
13      Meza know about the Renaissance scheme, the Virginia
14      Worldwide scheme, and the Carso scheme? And the evidence
15      that you heard from that witness stand and the evidence that
16      you saw in the documents is that he did not know. The phone
17      calls that you will listen to, that you heard here in court,
18      and you will have with you in the back, those calls tell you
19      that Carlos did not know that he was swept into a scheme that
20      was huge, bigger than him. And he was not doing anything
21      purposefully or intentionally to make that scheme go forward.
22                  Now, the next -- one of the big pieces of evidence
23      that the government uses are these personal expenditures.
24      And Carlos talked to you about each one of those. And you
25      all paid attention, and you saw he went through each one and
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 1      explained. There was money moving here, there was money
 2      moving there. I'm going to get into each witness
 3      individually. But, most specifically, Carlos was doing a lot
 4      of work for Scott Spencer. Scott Spencer at least had the
 5      wherewithal to get up and admit that, that this work was
 6      actually being done, that Carlos was his go-to guy. That
 7      Carlos was performing a lot of tasks for him. And that he
 8      had instructed Carlos to make certain expenditures in
 9      furtherance of his business. Most specifically, the
10      Performance Crane business that was going on. And you saw --
11      well, I'll get into that when I talk about Mr. Spencer.
12                  So, as promised, I'm going to talk about the jury
13      instruction, just like the Assistant US Attorney did. You
14      will see Jury Instruction No. 21, that you take back with
15      you. You're going to have written copies of all these
16      instructions. And the judge is going to tell you that this
17      is the law. This is what you all swore at the beginning to
18      follow, and this is one of the most important instructions.
19      They're all important, but this is one of the most important
20      as we see it: A person acts with intent to defraud if he
21      knowingly, with intent to deceive or cheat the victim, in
22      order to cause a gain of money to the defendant or another.
23      Well, I don't think there is any evidence about real
24      financial gain other than the personal expenditures, which
25      we'll talk about. But the most important thing to take from
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 1      this instruction is: Did he know? The evidence shows you he
 2      didn't know. Did he intend to deceive and cheat his friends?
 3      And the answer is no. If you devise a scheme to cheat and
 4      deceive your fellow church members and everybody is up in
 5      arms about their money and their 401k and their -- everything
 6      they've got, do you still keep going to church? Do you still
 7      keep having contact with those people? No. You wouldn't.
 8      Because you intended to get those people's money, and you got
 9      away with it.
10                  But that's not what happened here. Carlos was
11      cheated too. He was defrauded too. And so he didn't have
12      any reason to change his lifestyle, to not go to church
13      anymore, to not go to Mr. Yacoub's garage anymore. He
14      continued to do it because he was a victim too.
15                  Now, how do we know that Carlos was not in on the
16      scheme? Well, you'll get a copy of this when you go in the
17      back. It won't show the whole thing now, but I will show as
18      much as I can. Look at all of the money going to Bob Adams.
19      It goes to him. Money is being sent to him. If Carlos
20      wanted this money, if he was going to -- if he intended to
21      defraud them, if he intended to cheat them, why pass any
22      money up to Bob Adams? Just say, hey, yeah, that's a great
23      idea, Bob, thanks for the idea. I'm going to pocket the
24      money and I'm taking off to South America. That didn't
25      happen. It did not happen because he didn't know about this
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 1      scheme. He did not know that he was being defrauded.
 2                  The other reason that you know that he wasn't being
 3      defrauded is because the second phase of the investment, so
 4      to speak, didn't even go through Milwaukee McPherson, it went
 5      directly to Virginia Worldwide, and Palmore. So, once again,
 6      if Carlos wants to make money and cheat and defraud his
 7      fellow church members, why is he telling them to send these
 8      huge sums of money to this other -- this other entity. An
 9      entity that he has no control of. An entity that he has no
10      part of. In fact, an entity that he, through Chicago
11      Trucking, you heard it here this morning, sent his own
12      $20,000 to. That's his skin in the game. He sent his own
13      money to Virginia Worldwide. And how do we know that that's
14      true? It's on the chart. And Mr. Tremaglio even said, this
15      is an accurate chart.
16                  Now, the recordings, I'm not going to spend a lot
17      of time on them, and you can do what you will in the back.
18      It's your decision to listen to them or not listen to them,
19      re-listen to them. But there are a few things, if you do
20      choose to listen to them, or look back on your memory about
21      what you heard about the phone calls, these, Bob Adams, is a
22      sophisticated investor. He even says to Ms. Robinson on the
23      first call, hey, I'm a sophisticated investor, we know what's
24      going on here. This is -- he is trying to explain the
25      operation while Carlos is listening in. Now, in hindsight,
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 1      you kind of see, like, they're building their story. Okay?
 2      They're putting in the details.
 3                  Larry Gelfond explained extensively how Virginia
 4      Worldwide deal works, which is very similar to the way the
 5      Renaissance scam works. They say that they've got this whole
 6      big sum of money, that you're going to be able to lease that
 7      money, and then, by just showing that we have this money,
 8      we're going to get these tremendous returns. Same scam.
 9                  Larry Gelfond, he admits, he's like, I'm being a
10      little pushy here, but, you know, we need to get this done.
11      We're going to get this thing done. And I'm going to get you
12      your money right away. These are the things that he is being
13      told, that Carlos is being told. And he believes them. He
14      has got Scott Spencer and Cordell breathing down his neck.
15      And so you actually hear that desperation in Carlos' voice in
16      the later calls. So that's another thing I really ask you to
17      pay attention to in the phone calls, which is Carlos' voice.
18      He doesn't do a lot of talking. But when he does, it's
19      saying things like, are we going to be getting this money
20      here? What's happening? What's going on? And, you know,
21      explain further, things like that. So it shows you that he
22      did not know, he was not in on it.
23                  I guess the government and I at least have this in
24      common, we picked out the same instructions to talk to you
25      about. This one is Instruction No. 16. And I -- it's really
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 1      interesting how different people have different takes on the
 2      exact same words. As I was listening to counsel give her
 3      closing argument, I'm thinking, okay, well, this is part of
 4      my argument too. But look how different it is.
 5                  So the government must prove the following things
 6      beyond a reasonable doubt. Beyond a reasonable doubt. That
 7      is the standard. That is the way to judge it. That the
 8      defendant -- I'm going to, again -- knowingly devised and
 9      participated in a scheme to defraud. Now, these are, here,
10      I'm going to point out some words now that are extremely
11      important, and you need to take into consideration. It's
12      these: "And," "and," "and." Each one of these four
13      propositions must be proven beyond a reasonable doubt in
14      order to find Mr. Meza guilty. "And," "and," "and." They
15      have to prove beyond a reasonable doubt that he knew that he
16      was participating in a scheme to defraud. They have to prove
17      beyond a reasonable doubt that he intended to defraud. They
18      have to prove beyond a reasonable doubt that he -- the scheme
19      to defraud involved these misrepresentations or promises.
20                  I want to talk about the promises and
21      misrepresentations. And the purpose was -- and that it was
22      done over interstate wire communications. Not so much an
23      issue in this case in terms of, yes, wires were done, but,
24      did -- is it proved beyond a reasonable doubt that Carlos was
25      involved with those wire transfers? And he -- he wasn't in
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 1      all of them. There were some that he was. You know, things
 2      that went into Milwaukee McPherson. But there were others
 3      that he wasn't.
 4                  The government is trying to mix two things together
 5      here. They're saying that he has knowledge of the fraud
 6      based on his -- his redirecting of the funds for personal
 7      use. And it does not prove that. What it actually proves is
 8      that he didn't know. Because he was so confident that he was
 9      going to get that money, he was, like, yeah, yeah, I do, I
10      need to pay off this lawyer, and I'm going to take care of
11      this expense, and we're paying on -- on this property. But I
12      know that money is coming in. I know it's coming in. And
13      we're all going to be okay. So for me to divert a little bit
14      here and a little bit there, it's going to be fine. So that
15      proves his lack of knowledge of the scheme. That proves his
16      lack of intent to defraud. Why would he do that if he didn't
17      anticipate the money coming back in? Didn't he think it was
18      going to come back and bite him? So the government is trying
19      to mix that whole -- those actions with the knowledge to --
20      the knowledge of the scheme and intent to defraud. And that
21      doesn't work.
22                  Now, I want to -- the witnesses. Scott Spencer,
23      Cordell Crane, and Ray Yacoub have known Carlos Meza for
24      nearly 20 years. They have known him every Sunday through
25      church. Not Ray, but the other two. Family vacations.
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 1      Dinners. Talks in the car. Talks on the phone. We went
 2      through with Scott Spencer all the different meetings that
 3      they had. He couldn't even remember them there were so many.
 4      Then he was like, oh, yeah, I think we did meet there, and I
 5      think we did meet there, and I think we did meet there.
 6      These three men have tremendous opportunity to observe Carlos
 7      Meza. To observe his demeanor. To talk to him. To see his
 8      home. To spend time with him. They have an opportunity to
 9      see who he is. That was not fraud.
10                  One thing that does come through, specifically
11      starting with Scott Spencer, is a tremendous anger and
12      frustration towards Carlos Meza that he had. Now, he lost a
13      lot of money, and that's fair enough. But Carlos didn't get
14      that money. And they have taken this -- Scott Spencer has
15      taken this frustration and his feelings of anger, and he has
16      taken it out on Carlos Meza. But never filed a civil suit,
17      never came after him in that way, said, hey, where is my
18      money? You said that we were -- first of all, Scott Spencer,
19      they don't have really anything to memorialize the
20      investment. Can you believe that? Can you believe that
21      Scott Spencer gave Carlos all that money and said, oh, yeah,
22      just go do it. Don't even sign anything. I mean, later on
23      he decides to, like, write something on a white board and
24      have Carlos sign it and take a picture of it. But in the
25      initial investment, nothing. And they're partners. He had
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 1      testified that they were partners.
 2                  How do we know that Carlos was not defrauding Scott
 3      Spencer? Well, Scott Spencer is the one that actually
 4      initiates the relationship, the business relationship,
 5      between the two of them. He knew him. He said he knew him
 6      for many, many years. He knew that Carlos was in the real
 7      estate business. And Carlos was in the real estate business.
 8      That's not a lie, that's true. Milwaukee McPherson owned
 9      properties, bought properties, sold properties, collected
10      rents. He was in that business. And so Scott Spencer says,
11      hey, come to North Dakota with me. We have a big job down
12      there, and you can help me out. It's not Carlos seeking out
13      these people to try to sweep them into the net that
14      Renaissance has created or Virginia Worldwide has created.
15      This is just a legitimate organic relationship.
16                  And that's where a lot of these expenses come in.
17      Scott Spencer testified on the witness stand, yes, he was
18      doing surveying. Yes, he was obtaining the crane. Yes, he
19      was bridging Doug Pitt into the country. Yes he was doing
20      lots of different things for the North Dakota project. He
21      was working. And when we work, we all expect to get paid.
22      And when you spend your own money, your own personal money to
23      go do things, you expect -- I mean on behalf of a business,
24      you expect to be reimbursed. And that is what was happening.
25      That was part of the deal.
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 1                  Scott Spencer testified that this was a
 2      partnership. He didn't testify that he was investing in
 3      Carlos Meza. Because that was not what was happening. And,
 4      in that partnership, Scott told you that they were going to
 5      split the proceeds 50/50. That's a partnership. That was
 6      their agreement. Now, once again, Scott doesn't put anything
 7      in writing, so we don't have that. But how does Spencer sit
 8      there in that seat and look at all of you and say, yeah, I
 9      gave this guy $700,000 just because I know him. That's not
10      the case. He was not defrauded. He was not cheated. Carlos
11      did not intend for him to lose his money. It was not a game.
12      It was real. They all believed that. Meaning, Carlos
13      believed. Spencer, at this point I'm talking about, believed
14      in this investment. It was not a lie, and it was not a
15      cheat.
16                  Very important point that Mr. Spencer made on
17      cross-examination. He admitted that Carlos never -- he said
18      that there was no indication that Carlos was aware that the
19      money was going -- would not be returned. None at all. He
20      didn't have an inkling that Carlos thought that they might
21      lose the money. As a matter of fact, Carlos truly believed
22      that they were not going to lose the money.
23                  Now, Cordell Crane is a different type of witness.
24      Now, Cordell and Carlos were friends. Not best buddies, but
25      they were -- they were friends from church. Their families
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 1      spent time together. They did take a vacation together,
 2      to -- I don't know if it came out, but they took a vacation,
 3      to where, but I won't say. They took a vacation together.
 4      Families, children, wives. They had dinners. They went to
 5      each other's homes. I mean, these are -- these are friends.
 6      But then does that mean that Carlos' wife and kids, when they
 7      were on vacation were, like, in on this scheme. Like, we're
 8      going to befriend these people over a 20 -- almost 20-year
 9      period. We're going to befriend them. We're going to be
10      their buddies. We're going to go on vacation. And then when
11      the time is right, we're going to get 'em. No way. That's
12      not what happened.
13                  What happened is that Cordell Crane was going from
14      job to job to job to job. He was unemployed. He needed
15      money. And Carlos needed money too, as he told you, for the
16      Milwaukee McPherson -- the building on Milwaukee, the 2715, I
17      think it was, North Milwaukee. And so he is, like, hey, we
18      can both get ahead here. I can help you out, you can help me
19      out. Let's do this. That's what it was. And Cordell knew
20      exactly what he was getting into. Just like Scott Spencer.
21      For these guys to get up there and say, oh, well, I'm not a
22      savvy investor, and I don't really know anything about
23      investments. Sure, there is some risk involved, but, you
24      know, not here because Carlos gave us his 100 percent
25      guaranty. You can't believe that. You can't believe it.
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 1      It's not true.
 2                  Both of those -- Cordell Crane was far more
 3      sophisticated than he led on to you on that witness stand in
 4      terms of his investment. And how do we know? He at least
 5      was smarter than Spencer and put things in writing. Okay?
 6      They made a contract. And look at that -- and they -- they
 7      showed it on -- I don't have it to put up there, but you just
 8      saw it in the other -- in the government's presentation.
 9                  Here's what they did point out. It was a 20 to
10      30 percent investment coming back in two weeks.
11                  By the way, I didn't hear any evidence about the
12      wife being on vacation. Okay? So you all, the judge will
13      instruct you, to rely on your own recollections about what
14      you heard from the witness stand. But I don't recall any
15      evidence that she was on vacation. That's some weird little
16      twist that all of a sudden is coming up here that wasn't from
17      the witness stand. And you can only consider what you heard
18      from the witness stand. That argument is designed to make
19      Carlos look bad. To make it look like he was taking
20      advantage of her being gone and being devious in some way.
21      We never heard that she was gone from Cordell Crane.
22                  But here is -- here is why we know that actually
23      Cordell's initial -- the money that he put out there the
24      first time, the $50,000, that was a loan. That was
25      absolutely a loan. And the paper, the writing, tells you
     Case: 1:17-cr-00281 Document #: 76 Filed:
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 1      that it was a loan. Why? Because it was secured by the
 2      Ravenswood property. It was secured. So Carlos' guaranty, I
 3      guaranty you're getting your money back. It says it in
 4      there. That is because it was secured by the property. That
 5      is not a lie. That is not a cheat. That is not a deception.
 6      And it was Cordell Crane's choice to not exercise that right
 7      to come in and take that property in compensation when the
 8      deal did not go through. He absolutely could have done it.
 9      He had the paper. It was in writing. He probably would
10      have -- he could have won. He could have gotten all of his
11      money back, and he did not do it. It was a loan.
12                  Now, Ray Yacoub, he actually turned out to be a
13      good witness for the defense in this case. He was real
14      honest. Comes in. He is like, yes, I know Carlos, I've
15      known him for years. He brings me cars. He brings me
16      trucks. We do business together. Carlos told you he was the
17      best man in Ray Yacoub's wedding. And what did he say?
18      Yeah, I put up the 50,000, and I knew there was risk. I knew
19      something could happen to it. I knew that there is no
20      100 percent guarantees in investing. And he was not a savvy
21      investor. We're not claiming that he was. But he was not
22      taken advantage of by Carlos Meza. He was not cheated by
23      Carlos Meza. He was not deceived by Carlos Meza. Carlos
24      Meza was deceived by Bob Adams, Terry Barnes, Larry Gelfond.
25      And, unfortunately, because Carlos was -- was seeking the
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 1      help of his acquaintances and friends, they got sucked in,
 2      too.
 3                  Why is this criminal? Why are there no civil
 4      lawsuits here? How come Spencer never sued Carlos? How come
 5      Cordell never sued Carlos? How come Ray never sued Carlos?
 6      Well, Ray, you might think, you know, he didn't want to.
 7      They're continuing to do business, and things like that. But
 8      that's real telling. Why is this -- why are they going after
 9      their money in some different way? Why are they coming in
10      here and saying --
11                  MR. YOUNG: Objection, your Honor, to the reference
12      of the criminal matter.
13                  THE COURT: Sustained.
14                  MR. KUTNICK: No one held a gun to these guys'
15      heads and said, you must invest, you must invest, you must
16      invest. They chose to invest. They decided to invest. And
17      big, big fact here, exclamation points: Even when the money
18      hadn't come in, they invested again. Why? Because they
19      believed. Because Carlos believed. Because they were all
20      being deceived.
21                  Now, I'm going to put this chart back up. We
22      looked at it before because I was referencing all the money
23      going up to Renaissance and Bob Adams. But I'd also like to
24      point out something about Carlos' skin in the game. First of
25      all, he did testify about the $20,000 that came from Chicago
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 1      Trucking, May 2013. But I also want to note, we talked about
 2      this during examination, this 30, $31,000 in other deposits
 3      going into Milwaukee McPherson that is completely aside from
 4      the money coming from Crane and Spencer. And you will have
 5      this in the back. So I just wanted to point out the 31,000.
 6      And the reason why that's important is -- and we went through
 7      it, was the rental income that was coming in from the
 8      properties from Milwaukee McPherson. Carlos was making
 9      money. Money was coming in. It wasn't purely these other
10      guys' money. And so that skin in the game, that -- his own
11      personal commitment, his own personal risk, also proves his
12      lack of -- his lack of knowledge of the scheme and his lack
13      of intent to defraud.
14                  Now we've all been here all week, and one of the --
15      you know, in this day and age, we all have a screen between
16      us and the other person all way too often. But one great
17      thing about a trial, about a jury trial, is that we are all
18      in this room. And it's very important that all, with your
19      eyes, get to see and hear these witnesses. And one of the --
20      and you also get to see and hear, in this case, Carlos Meza.
21      You got to evaluate his demeanor. You get to evaluate what
22      he says and how he says it.
23                  One of the most telling things that proves that
24      Carlos believed that this scheme was real was that, if you
25      look at the dates of these personal expenditures, the vast
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 1      majority of them were before anyone realized there was a
 2      problem with the -- with the investment, that they weren't
 3      getting money. They were having problems getting it back.
 4      And that timeframe is very important because it proves that
 5      Carlos believed. If he had been spending money afterwards,
 6      then it's like, oh, well, he is freaking out. He is like, oh
 7      my gosh, we're going to get -- we're going to get taken
 8      advantage of. I better spend this money. But, no, that's
 9      not when it happened. It happens before. Why? Because he
10      believed.
11                  So this is kind of like this time of year, holiday
12      bonus time. We all have gifts to buy for family and friends,
13      and things like that. And we're like, oh, well, I don't get
14      my bonus check until, you know, some companies, maybe the
15      week before the holidays, something like that. But what do
16      you do? You've got to buy gifts. You've got to plan events.
17      You've got to do things. So you're anticipating that bonus.
18      It's coming. You spend the money anyway. You spend it now
19      because you know that the money is coming later. And that is
20      similar to what happened here.
21                  Ladies and Gentlemen, Carlos, he was naive. He was
22      not a savvy investor. He can't help the way people perceived
23      him. He wanted to be important. He wanted to be wealthy.
24      He wanted to rub elbows with these wealthier guys. And so he
25      was presented with an opportunity and, yeah, he didn't have
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 1      the cash to do it himself, so he wanted to bring in these
 2      people. And he wanted to help them make money too. It was
 3      not a scheme to defraud Scott Spencer, Cordell Crane, and Ray
 4      Yacoub. There was a scheme to defraud all those people, but
 5      this man did not know about it. He did believe. He did not
 6      intend to deceive.
 7                  So, then, is this wire fraud? And the answer is
 8      no. He did not fraudulently take these people's money. He
 9      did not fraudulently remove them from their funds. He did
10      not commit wire fraud. And he is not guilty.
11                  THE COURT: Thank you.
12                  MR. KUTNICK: Thank you, your Honor.
13               REBUTTAL ARGUMENT ON BEHALF OF THE GOVERNMENT
14                  MR. YOUNG: Counsel tells you that the defendant
15      did not intend to defraud, that he didn't intend to cheat
16      those victims, because he didn't know about Renaissance,
17      Virginia Worldwide, or Carso. He didn't know that they were
18      scamming him. But that's not what this case is about. It's
19      about the lies he told to Scott Spencer, Cordell Crane, and
20      Ray Yacoub to get their money. He needed the money that he
21      believed was coming from those investments. There is no
22      dispute, no dispute, that he was hoping, perhaps ridiculously
23      so, hoping those investments would come through. Because
24      that was going to give him the money that he needed for his
25      property, the Milwaukee property, that was $20 million in
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 1      debt at the time. The bottom line is, he wanted to make
 2      these investments, he didn't have the money to do it, and he
 3      needed that money. And that's why he went out and started
 4      lying to people. He decided to gamble. And I believe
 5      counsel told you right at the beginning of this trial that
 6      the defendant liked to gamble. That's exactly what he was
 7      doing here.
 8                  MR. KUTNICK: Objection. Your Honor, I'm sorry, I
 9      objected.
10                  THE COURT: I'll have to take a sidebar.
11            (At sidebar outside the hearing of the jury.)
12                  THE COURT: All right. I don't remember. You're
13      taking it from the opening statement?
14                  MR. YOUNG: From the opening statement, yes, your
15      Honor.
16                  MS. ZARDKOOHI: That's not what was said. We
17      didn't say he likes to gamble. We made an analogy to people
18      in desperation of losing money that go on to invest more by
19      gambling. It was liking to gambling, like noting that there
20      is a majority doing this.
21                  MS. KLAMANN: I believe you stated that Carlos'
22      biggest weakness is gambling.
23                  MS. ZARDKOOHI: No, I did not say that.
24                  THE COURT: Well, I'm just going to tell them that
25      it's -- the jury will decide what was said. You're not going
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 1      to --
 2                  MR. YOUNG: I'm not going to --
 3                  MR. KUTNICK: It was argument anyway, it wasn't
 4      evidence.
 5                  THE COURT: Well, I think they're allowed to go
 6      back to, I think, to refer to what either side said in their
 7      opening statement. Do you disagree?
 8                  MR. KUTNICK: No, I guess not, but it was just very
 9      mischaracterized by saying that he likes gambling because --
10                  THE COURT: I don't know where he is going with it.
11      Hopefully not far.
12                  MR. KUTNICK: -- it was adding more money
13      afterwards --
14                  MS. ZARDKOOHI: We were referring to --
15                  MR. KUTNICK: -- to make the initial investment,
16      then they would make a secondary investment to get -- to
17      get up --
18                  MR. YOUNG: I won't go back to the gambling, your
19      Honor.
20                  THE COURT: Should I tell them to disregard it?
21                  MR. KUTNICK: I would like that.
22                  MR. YOUNG: That's fine, Judge.
23                  THE COURT: Okay.
24            (Proceedings in open court in the hearing of the jury.)
25                  THE COURT: Please disregard that reference to
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 1      gambling.
 2                  MR. YOUNG: Defendant needed other people's money
 3      to make those investments, he didn't have it himself, and he
 4      began to lie to get their money. He began, started the lie
 5      about things not that Bob Adams or Larry Gelfond had told
 6      him. About other things. Things to sweeten the pot about
 7      these investments. And that's what this case is about.
 8      That's why you know he had an intent to defraud. That's why
 9      you know that he knowingly participated in these schemes.
10                  Let's talk about Scott Spencer's $280,000 that he
11      invested in May and June of 2012. Leading up to those
12      investments, the defendant was telling Mr. Spencer that he
13      was a multimillionaire, owned a trucking company that had 100
14      trucks, had money in overseas. You now know that is all
15      false. And those aren't things that anyone with Renaissance
16      or Carso or Virginia Worldwide told him. Those are things
17      the defendant made up himself to make it look like he was the
18      type of guy who is going to have access to these sort of
19      special insider -- I'm sorry, not insider -- international
20      trading programs. His lie.
21                  And then he tells Mr. Spencer that he is putting in
22      his own money to the deal. And he gives specific amounts.
23      $250,000. Now, counsel told you, oh, he had skin in the
24      game, $20,000 a year later to Virginia Worldwide. There was
25      no evidence that defendant contributed a single penny to
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 1      Renaissance Capital. But he is telling Scott Spencer, I'm
 2      putting in my own money.
 3                  Leading up to the transaction, he is telling Scott
 4      Spencer that I have 100 percent control of these deals. I
 5      know the traders. That's not something that Carso or
 6      Renaissance said. That's not something anyone told him to
 7      say. And he wasn't simply regurgitating that, he was making
 8      that up because it made it sound better. You can trust in
 9      these almost outlandish returns because I know. I know.
10                  And then telling them that the money -- telling
11      Mr. Spencer that the money was going for an investment. Yes,
12      Mr. Spencer and the defendant had some prior dealings with
13      one another. Mr. Spencer thought that, in many regards, as
14      he told you, the defendant was simply helping him out. There
15      was never any discussion about the defendant using part of
16      the money for Renaissance to compensate him for other
17      expenses he had.
18                  And take a look at some of those other expenses,
19      Ladies and Gentlemen. Whether it's the minivan, or the
20      condo, or the legal fees, or the phone bill, or the electric
21      bill. There is no indication that any of that is going
22      towards helping Scott Spencer with the North Dakota project.
23      He was taking that money. He was taking that money.
24                  And counsel says in his closing, and if I at all
25      misspeak, you ultimately, your memory, will prevail. But I
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 1      believe counsel said, it's okay to divert money. It's okay
 2      to take money because it's all going to turn out in the long
 3      run.
 4                  MR. KUTNICK: Objection, your Honor.
 5                  THE COURT: The jury will decide what was said.
 6                  MR. YOUNG: So I'll steal it now, but if everything
 7      turns out, I can put it back, and no one will know.
 8      That's -- that doesn't make it okay. That's fraud. If you
 9      lie to get the money in the first place, the fact that down
10      the road you're hoping this investment will come through and
11      you'll be able to put the money back doesn't negate your
12      intent to defraud. It doesn't negate the lies that you told.
13                  And then the lies continue on and on with
14      Mr. Spencer. You know, as months go on, he gets him to
15      invest in over $400,000. Then the lulling lies about the
16      money in Ecuador.
17                  Let's turn to Cordell Crane and the lies that the
18      defendant told. The lies the defendant told him to sweeten
19      the pot. Cordell Crane invests $50,000 in September of 2012.
20      That's three months after Mr. Spencer's investment. Three
21      months after. There have been no returns. You're getting
22      excuses from Renaissance Capital, Bob Adams, as you've heard.
23      Does the defendant tell Cordell Crane that the money hasn't
24      come through, things are late? No, he doesn't. He tells him
25      exactly what he told Mr. Spencer: This is a sure thing.
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 1      It's going to happen. Then he lies to him. Lies to him in
 2      telling him this money is going towards the investment with
 3      Renaissance, when it's not. And he knew it wasn't. You
 4      know, within a day, I believe, when you look at the records,
 5      within a day of getting the money from Cordell Crane, the
 6      defendant sends it out to Andrew Lee at ALSJ to repay a loan.
 7      Tells Crane, your money is going towards an investment, and
 8      he sends it somewhere else. That's a lie. And that's not a
 9      lie anyone else made him or told him to say. That's a lie he
10      told to get that money because he needed that money.
11                  Now, you've heard suggestions or contentions that
12      that was just a loan, and you know it was a loan because it
13      was secured by that property on Ravenswood. Well, first of
14      all, Ladies and Gentlemen, look at the paperwork itself.
15      That's not what the paperwork says. The paperwork says,
16      investment. And the defendant signed that paperwork. If it
17      was a loan, why wouldn't the paperwork say a loan? It said,
18      investment. And the security of the property? Well, if
19      property is really securing a transaction, you give the
20      person title to the property. You get a mortgage. Here,
21      defendant was using a property that he bought a month or two
22      earlier for $28,000 to "secure" the $50,000 so-called loan
23      that was really an investment. But two months later, a few
24      months later, when Mr. Crane went to look into that property,
25      he found it had already been liened up. You know, the
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 1      implication of that was the defendant was using that to
 2      pledge for other properties, Ladies and Gentlemen. Lies. No
 3      one made the defendant say that that investment was going to
 4      Bob Adams and Renaissance. That was the defendant. No one
 5      caused the defendant to send that money somewhere else. That
 6      was him.
 7                  And the lies continued with respect to Cordell
 8      Crane. As the scheme went on over time and the returns
 9      aren't coming back, what does he tell Mr. Crane to lull him,
10      to try to calm him down? He tells him, don't worry, I have
11      all this money in Ecuador. I have all this money in Ecuador,
12      and I'm going to bring it up. Of course, it never comes.
13      And you now know, because he told you from the stand, that he
14      doesn't have that money. But what does that mean? Well,
15      it's evidence of his continuing intent to defraud. It's
16      evidence that he continues to say whatever he wants --
17      whatever he thinks he needs to say at the time to get what he
18      wants. He wanted to calm down Mr. Crane, so he starts
19      telling him, don't worry, it will be okay, I have other money
20      I can bring up. It wasn't Bob Adams or Larry Gelfond or
21      Terry Barnes telling him to say that. That was all the
22      defendant.
23                  And Ray Yacoub. Ray Yacoub, who counsel said was
24      one of the best witnesses in the case, or at least best
25      witness for the defense. And, again, it's your memory, not
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 1      my memory that counts, Ladies and Gentlemen. Let's think
 2      about Mr. Yacoub. He provides $50,000 in June of 2013.
 3      $50,000 toward the investment. This is a year after Scott
 4      Spencer's first investment, about ten months, or so, after
 5      his second investment of $400,000. It's roughly eight or
 6      nine months after Cordell Crane has put in his money.
 7      Nothing has come back. Spencer and Crane are agitated. You
 8      know, excuses after excuse after excuse. Does defendant tell
 9      Mr. Yacoub that I have this investment opportunity, I hope
10      it's going to turn out, but I'm not sure, we've had all these
11      delays? No. He tells his best friend that this is a sure
12      thing. This is a sure thing. I have most of my money into
13      it. $20,000 he has from the trucking company. Most of my
14      money is in this deal. Continuing to say, to lie to people
15      to get what he wants because he is hoping that money, that
16      investment, comes through beyond all rational belief.
17                  But, nevertheless, Ladies and Gentlemen, he lied to
18      get what he wanted. His lies. He was sweetening the pot.
19      He wasn't simply passing on things that he had heard on the
20      phone. He was telling his victims what he thought they
21      needed to hear to get what he wanted. That is a scheme to
22      defraud.
23                  Now, you heard that a lot of the money did go to
24      Renaissance, a lot of the money went to Virginia Worldwide, a
25      lot of the money went to Palmore Legal Services. We told you
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                                                         Young


 1      that up front. We showed you the charts. It doesn't mean
 2      anything. It simply means he was hoping for the payoff so he
 3      could replace the money he had taken. But that doesn't
 4      negate the scheme that occurred here. And along the way,
 5      though, he was pocketing a lot of it himself, as you heard,
 6      with no indication that he had ever talked about any of those
 7      things with Mr. Spencer or Mr. Crane. They believed this was
 8      going towards investments.
 9                  Counsel suggests the witnesses are lying. Judge
10      Bucklo is going to instruct you about the things you need to
11      consider when you assess the credibility of witnesses.
12      Things like their demeanor. Things like their -- whether
13      they have a reason to lie. The other evidence in the case.
14      And I ask you to do that. Certainly, whether it's
15      Mr. Spencer, or Mr. Crane, or Mr. Yacoub, none of them are
16      happy that they've lost money in this deal. They were upset.
17      But, I mean, they're not getting that money back. The
18      evidence you have seen in this case has shown, that money is
19      gone. It went to Renaissance and Palmore and some into the
20      defendant's pocket. They're not getting that money back.
21      Consider their demeanor against the demeanor of the defendant
22      when he took the stand. I invite you to do that.
23                  And also, think about -- think about the other
24      evidence you've heard in this case. You know, Mr. Spencer
25      tells you how he is approached by the defendant. This is a
     Case: 1:17-cr-00281 Document #: 76 Filed:
                              Rebuttal         01/18/19-Page
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                                                         Young


 1      sure thing. It's 100 percent guaranteed. Mr. Crane tells
 2      you essentially the same thing. Mr. Yacoub. They're all
 3      telling you about the same pitch. Are there differences?
 4      Yes. And he is certainly getting different amounts of money
 5      from both. And he is sweetening the pot here and there, no
 6      doubt about it. But all consistent, all telling you the same
 7      thing, about lies above and beyond just what he was getting
 8      from the people he was talking on those phone calls with.
 9                  And let's talk about those recordings a little bit.
10      You know, counsel mentioned them, didn't want to talk about
11      them too much, he said, but the five recordings. You know,
12      there were -- because it's relevant. First of all, at the
13      end of the day, there is not much on there I think that
14      should affect your decision, Ladies and Gentlemen. And I say
15      that because the lies in this case were all the defendant's,
16      not things he was being told by those individuals.
17                  But, nevertheless, in assessing the credibility of
18      the defendant, I ask you to think about those recordings.
19      And I do that because, on direct examination, you know, they
20      played five calls for you. A couple were from Bob Adams in
21      early 2012. The other three were from Larry Gelfond and Bob
22      Adams, in 2013, towards the end of the scheme. And on direct
23      examination, the defendant said that, when playing call
24      No. 3, which I believe was in April 2013, at this time I
25      played the recording for Mr. Spencer and Mr. Crane because
     Case: 1:17-cr-00281 Document #: 76 Filed:
                              Rebuttal         01/18/19-Page
                                           argument          56 of 83 PageID #:757424
                                                         Young


 1      they were getting upset about the fact that things were
 2      taking so long. They were getting agitated. And I played
 3      this for them to sort of alleviate their concerns. Now, of
 4      course, neither Mr. Crane nor Mr. Spencer had any
 5      recollection of ever hearing any recordings. But, then, on
 6      cross-examination, when I asked him, well, why didn't you
 7      play the recordings sooner? All of a sudden he testified
 8      that, well, I had been playing recordings for them all the
 9      long. You know, the 100 or so recordings that I had made, I
10      had been playing all along. He was just saying whatever he
11      thought people wanted to hear at the moment. Just like when
12      he was talking and getting money from Spencer, Crane and
13      Yacoub.
14                  Ladies and Gentlemen, the defendant needed money
15      for his building and his other projects. He wanted to make
16      those investments. He started lying to the people who knew
17      him and the people who trusted him. You know, counsel sort
18      of made comments about, why did these witnesses give him
19      money? Because they trusted him. You know, they believed
20      him. And he misled them. He lied to them, purposely, to get
21      their money. That is a scheme to defraud. And that is his
22      scheme to defraud and his scheme to defraud only.
23                  I thank you for your time and attention. We all
24      appreciate your service. We know it is a significant
25      inconvenience. The case will now be yours. You will be
     Case: 1:17-cr-00281 Document #:Jury
                                     76 Filed: 01/18/19 Page 57 of 83 PageID #:758425
                                           Instructions


 1      instructed on the law, and then you will have the opportunity
 2      to go back and make a decision. When you go back to
 3      deliberate, on behalf of myself, on behalf of my colleague,
 4      Ms. Klamann, and on behalf of Special Agent Jill Pettorelli
 5      of the FBI, we ask that you return the only verdict
 6      consistent with the evidence you have heard in this case, a
 7      verdict of guilty on both counts. Thank you.
 8                  THE COURT: Thank you.
 9                  All right. I'm now going to pass out the jury
10      instructions. I'm going to read them to you, but I want to
11      give you a copy, it is easier to follow.
12                  Members of the jury, I'm now going to instruct you
13      on the law that you must follow in deciding this case. I
14      will give you each a copy to use in the jury room. You must
15      follow all of my instructions about the law, even if you
16      disagree with them. This includes the instructions I gave
17      you before the trial, any instructions I gave you during the
18      trial, any instructions I am giving you now.
19                  As jurors, you have two duties. Your first duty is
20      to decide the facts from the evidence that you saw and heard
21      here in court. This is your job, not my job or anyone else's
22      job.
23                  Your second duty is to take the law as I give it to
24      you, apply it to the facts and decide if the government has
25      proved the defendant guilty beyond a reasonable doubt.
     Case: 1:17-cr-00281 Document #:Jury
                                     76 Filed: 01/18/19 Page 58 of 83 PageID #:759426
                                           Instructions


 1                  You must perform these duties fairly and
 2      impartially. Do not let sympathy, prejudice, fear, or public
 3      opinion influence you. In addition, do not let any person's
 4      race, color, religion, national ancestry, or gender influence
 5      you.
 6                  You must not take anything I said or did during the
 7      trial as indicating that I have an opinion about the evidence
 8      or about what I think your verdict should be.
 9                  The charges against the defendant are in a document
10      called an indictment. You will have a copy of the indictment
11      during your deliberations.
12                  The indictment in this case charges that the
13      defendant committed the crime of wire fraud. The indictment
14      contains two counts. The defendant has pleaded not guilty to
15      the charges.
16                  The indictment is simply the formal way of telling
17      the defendant what crimes he is accused of committing. It is
18      not evidence that the defendant is guilty. It does not even
19      raise a suspicion of guilt.
20                  The defendant is presumed innocent of the charges.
21      This presumption continues throughout the case, including
22      during your deliberations. It is not overcome unless, from
23      all the evidence in the case, you are convinced beyond a
24      reasonable doubt that the defendant is guilty as charged.
25                  The government has the burden of proving the
     Case: 1:17-cr-00281 Document #:Jury
                                     76 Filed: 01/18/19 Page 59 of 83 PageID #:760427
                                           Instructions


 1      defendant's guilt beyond a reasonable doubt. This burden of
 2      proof stays with the government throughout the case.
 3                  The defendant is never required to prove his
 4      innocence. He is not required to produce any evidence at
 5      all.
 6                  You must make your decision based only on the
 7      evidence that you saw and heard here in court. Do not
 8      consider anything you may have heard or seen outside of the
 9      court, including anything from any newspaper, television,
10      radio, Internet, or any other source.
11                  The evidence includes only what the witnesses said
12      when they were testifying under oath, the exhibits that I
13      allowed into evidence, and the stipulations that the lawyers
14      agreed to. A stipulation is an agreement that certain facts
15      are true or that a witness would have given certain
16      testimony.
17                  Nothing else is evidence. The lawyers' statements
18      and arguments are not evidence. If what a lawyer said is
19      different from the evidence as you remember it, the evidence
20      is what counts. The lawyers' questions and objections
21      likewise are not evidence.
22                  A lawyer has a duty to object if he thinks a
23      question is improper. If I sustained objections to questions
24      the lawyers asked, you must not speculate on what the answers
25      might have been.
     Case: 1:17-cr-00281 Document #:Jury
                                     76 Filed: 01/18/19 Page 60 of 83 PageID #:761428
                                           Instructions


 1                  If, during the trial, I struck any testimony or
 2      exhibits from the record, or told you to disregard something,
 3      you must not consider it.
 4                  Give the evidence whatever weight you decide it
 5      deserves. Use your common sense in weighing the evidence,
 6      and consider the evidence in light of your own everyday
 7      experience.
 8                  People sometimes look at one fact and conclude from
 9      it that another fact exists. This is called an inference.
10      You are allowed to make reasonable inferences, so long as
11      they are based on the evidence.
12                  You may have heard the terms "direct evidence" and
13      "circumstantial evidence." Direct evidence is evidence that
14      directly proves a fact. Circumstantial evidence is evidence
15      that indirectly proves a fact.
16                  You are to consider both direct and circumstantial
17      evidence. The law does not say that one is better than the
18      other. It is up to you to decide how much weight to give to
19      any evidence, whether direct or circumstantial.
20                  Do not make any decisions simply by counting the
21      number of witnesses who testified about a certain point.
22                  You may find the testimony of one witness or a few
23      witnesses more persuasive than the testimony of a larger
24      number. You need not accept the testimony of the larger
25      number of witnesses.
     Case: 1:17-cr-00281 Document #:Jury
                                     76 Filed: 01/18/19 Page 61 of 83 PageID #:762429
                                           Instructions


 1                  What is important is how truthful and accurate the
 2      witnesses were and how much weight you think their testimony
 3      deserves.
 4                  Part of your job as jurors is to decide how
 5      believable each witness was, and how much weight to give each
 6      witness's testimony, including that of the defendant. You
 7      may accept all of what a witness says, or part of it, or none
 8      of it.
 9                  Some factors you may consider include:
10                  The intelligence of the witness;
11                  The witness's ability and opportunity to see, hear
12      or know the things the witness testified about;
13                  The witness's memory;
14                  The witness's demeanor;
15                  Whether the witness had any bias, prejudice, or
16      other reason to lie or slant the testimony;
17                  The truthfulness and accuracy of the witness's
18      testimony in light of the other evidence presented;
19                  And inconsistent or consistent statements or
20      conduct by the witness.
21                  Certain summary charts were admitted in evidence.
22      You may use those summary charts as evidence.
23                  It is up to you to decide how much weight to give
24      to the summaries.
25                  If you have taken notes during the trial, you may
     Case: 1:17-cr-00281 Document #:Jury
                                     76 Filed: 01/18/19 Page 62 of 83 PageID #:763430
                                           Instructions


 1      use them during deliberations to help you remember what
 2      happened during the trial. You should use your notes only as
 3      aids to your memory. The notes are not evidence. All of you
 4      should rely on your independent recollection of the evidence,
 5      and you should not be unduly influenced by the notes of other
 6      jurors. Notes are not entitled to any more weight than the
 7      memory or impressions of each juror.
 8                  The defendant has been accused of more than one
 9      crime. The number of charges is not evidence of guilt and
10      should not influence your decision.
11                  You must consider each charge and the evidence
12      concerning each charge separately. Your decision on one
13      charge, whether it is guilty or not guilty, should not
14      influence your decision on any other charge.
15                  Counts One and Two of the indictment charge the
16      defendant with the crime of wire fraud. In order for you to
17      find the defendant guilty of those charges, the government
18      must prove each of the following elements beyond a reasonable
19      doubt.
20                  1. That the defendant knowingly devised or
21      participated in a scheme to defraud, as described in the
22      indictment; and.
23                  2.     That the defendant did so with the intent to
24      defraud; and.
25                  3.     The scheme to defraud involved a materially
     Case: 1:17-cr-00281 Document #:Jury
                                     76 Filed: 01/18/19 Page 63 of 83 PageID #:764431
                                           Instructions


 1      false or fraudulent pretense, representation, or promise;
 2      and.
 3                  4.     That for the purpose of carrying out the
 4      scheme or attempting to do so, the defendant caused
 5      interstate wire communications to take place in the manner
 6      charged in the particular count under consideration.
 7                  If you find from your consideration of all the
 8      evidence that the government has proved each of these
 9      developments beyond a reasonable doubt as to the charge you
10      are considering, then you should find the defendant guilty of
11      that charge.
12                  If, on the other hand, you find from your
13      consideration of all the evidence that the government has
14      failed to prove any one of these elements beyond a reasonable
15      doubt as to the charge you are considering, then you should
16      find the defendant not guilty of that charge.
17                  The person acts knowingly if he realizes what he is
18      doing and is aware of the nature of his conduct, and does not
19      act through ignorance, mistake, or accident. In deciding
20      whether the defendant acted knowingly, you may consider all
21      of the evidence, including what the defendant did or said.
22                  A scheme is a plan or course of action formed with
23      the intent to accomplish some purpose.
24                  A scheme to defraud is a scheme that is intended to
25      deceive or cheat another and to obtain money by means of
     Case: 1:17-cr-00281 Document #:Jury
                                     76 Filed: 01/18/19 Page 64 of 83 PageID #:765432
                                           Instructions


 1      materially false or fraudulent pretenses, representations or
 2      promises.
 3                  A materially false or fraudulent pretense,
 4      representation, or promise may be accomplished by the
 5      concealment of material information.
 6                  In considering whether the government has proven a
 7      scheme to defraud, the government must prove that one or more
 8      of the false or fraudulent pretenses, representations, or
 9      promises charged in the portion of the indictment describing
10      the scheme be proved beyond a reasonable doubt. The
11      government, however, is not required to prove all of them.
12                  A false or fraudulent pretense, representation
13      promise, or concealment is "material" if it is capable of
14      influencing the decision of the person to whom it was
15      addressed.
16                  It is not necessary that the false or fraudulent
17      pretense, representation, promise or concealment actually
18      have that influence or be relied on by the alleged victim, as
19      long as it is capable of doing so.
20                  A person acts with intent to defraud if he acts
21      knowingly with the intent to deceive or cheat the victim in
22      order to cause a gain of money to the defendant or another.
23                  The wire fraud statute can be violated whether or
24      not there is any loss or damage to the victim of the crime or
25      gain to the defendant.
     Case: 1:17-cr-00281 Document #:Jury
                                     76 Filed: 01/18/19 Page 65 of 83 PageID #:766433
                                           Instructions


 1                  The government need not prove that the scheme to
 2      defraud actually succeeded.
 3                  A wire transfer of funds constitutes a transmission
 4      by means of wire communication.
 5                  The government must prove that interstate
 6      communication facilities were used to carry out the scheme,
 7      or were incidental to an essential part of the scheme.
 8                  In order to cause interstate wire communications to
 9      take place, the defendant need not actually intend that use
10      to take place. You must find that the defendant knew this
11      use would actually occur, or that the defendant knew that it
12      would occur in the ordinary course of business, or that the
13      defendant knew facts from which that use could reasonably
14      have been foreseen. However, the government does not have to
15      prove that the defendant knew that the wire communication was
16      of an interstate nature.
17                  The defendant need not actually or personally use
18      interstate communication facilities.
19                  Although an item communicated interstate need not
20      itself contain a fraudulent representation or promise or a
21      request for money, it must carry out or attempt to carry out
22      the scheme.
23                  Each separate use of the interstate communication
24      facilities in furtherance of the scheme to defraud
25      constitutes a separate offense.
     Case: 1:17-cr-00281 Document #:Jury
                                     76 Filed: 01/18/19 Page 66 of 83 PageID #:767434
                                           Instructions


 1                  The indictment charges that the crimes happened "on
 2      or about" certain dates. The government must prove that the
 3      crimes happened reasonably close to the dates. The
 4      government is not required to prove that the crimes happened
 5      on these exact dates.
 6                  In deciding your verdict, you should not consider
 7      the possible punishment for the defendant. If you decide
 8      that the government has proved the defendant guilty beyond a
 9      reasonable doubt, then it will be my job to decide on the
10      appropriate punishment.
11                  Once you are all in the jury room, the first thing
12      you should do is choose a foreperson. The foreperson should
13      see to it that your discussions are carried on in an
14      organized way and that everyone has a fair chance to be
15      heard. You may discuss the case only when all jurors are
16      present.
17                  Once you start deliberating, do not communicate
18      about the case or your deliberations with anyone except other
19      members of your jury. You may not communicate with others
20      about the case or your deliberations by any means. This
21      includes oral or written communication, as well as any
22      electronic method of communication, such as telephone, cell
23      phones, smart phone, iPhone, Blackberry, computer, text
24      messaging, instant messaging, the Internet, chat rooms,
25      blogs, websites, or services like Facebook, LinkedIn,
     Case: 1:17-cr-00281 Document #:Jury
                                     76 Filed: 01/18/19 Page 67 of 83 PageID #:768435
                                           Instructions


 1      YouTube, Twitter, or any other method of communication.
 2                  If you need to communicate with me while you are
 3      deliberating, send a note through the court security officer.
 4      The note should be signed by the foreperson, or by one or
 5      more members of the jury. To have a complete record of this
 6      trial, it is important that you do not communicate with me
 7      except by a written note. I may have to talk to the lawyers
 8      about your message, so it may take me some time to get back
 9      to you. You may continue your deliberations while you wait
10      for my answer. Please be advised that transcripts of trial
11      testimony are not available to you. You must rely on your
12      collective memory of the testimony.
13                  If you send me a message, do not include the
14      breakdown of any votes you may have conducted. In other
15      words, do not tell me you are split 6-6, or 8-4, or whatever
16      your vote happens to be.
17                  A verdict form has been prepared for you. You will
18      take this form with you to the jury room.
19                  I'll just go over it a little bit. The verdict
20      says: With respect to the following charges in the
21      indictment, we, the jury, find the defendant Carlos R Meza:
22                  Count One, there is a box for not guilty and a box
23      for guilty. You would check one.
24                  Count Two, again, it says not guilty, and it says
25      guilty.
     Case: 1:17-cr-00281 Document #:Jury
                                     76 Filed: 01/18/19 Page 68 of 83 PageID #:769436
                                           Instructions


 1                  There are then places for each of you to sign and
 2      date the form when you have reached unanimous agreement.
 3                  Advise the court security officer once you have
 4      reached a verdict. When you come back to the courtroom, the
 5      clerk will read the verdict aloud, or I will.
 6                  The verdict must represent the considered judgment
 7      of each juror. Your verdict, whether it is guilty or not
 8      guilty, must be unanimous.
 9                  You should make every reasonable effort to reach a
10      verdict. In doing so, you should consult with each other,
11      express your own views, and listen to your fellow jurors'
12      opinions. Discuss your difference with an open mind. Do not
13      hesitate to re-examine your own view and change your opinion
14      if you come to believe it is wrong. But you should not
15      surrender your honest beliefs about the weight or effect of
16      evidence solely because of the opinions of your fellow jurors
17      or just so that there can be a unanimous verdict.
18                  The twelve of you should give fair and equal
19      consideration to all the evidence. You should deliberate
20      with a goal of reaching an agreement that is consistent with
21      individual judgment of each juror.
22                  You are impartial judges of the facts. Your sole
23      interest is to determine whether the government has proved
24      its case beyond a reasonable doubt.
25                  All right. We will now -- we will excuse you to
     Case: 1:17-cr-00281 Document #: 76 Filed: 01/18/19 Page 69 of 83 PageID #:770437


 1      the jury room. I will ask that our two alternates stay
 2      behind for a minute, and then I will let you get your coats.
 3      That will be Asmidia Gutierrez and Lori Delmar.
 4                  And, let's see, we need to swear John.
 5            (Court Security Officer sworn.)
 6                  THE COURT: Let's see, couple more things. One,
 7      lunch should arrive in about an hour. And I, of course,
 8      never know how long a jury will be out. If it gets to be
 9      toward the end of the day and you decide that you wish to go
10      home, just let us know, and you will come back tomorrow
11      morning at whatever reasonable time you decide that you want
12      to come back. Exhibits and anything else you need will be
13      sent back in a little while.
14                  All right. Thank you.
15            (Jury out.)
16            (Alternate jurors excused.)
17                  THE COURT: So I would like you to put the
18      exhibits, just to make sure it's on the record, that you
19      agreed as to what all is going back. And you have a redacted
20      copy of the indictment, I assume?
21                  MR. YOUNG: Yes, your Honor.
22                  THE COURT: Okay. Just make sure that you have
23      phone numbers.
24                  THE CLERK: Okay.
25                  MR. KUTNICK: I have reviewed the government's
     Case: 1:17-cr-00281 Document #: 76 Filed: 01/18/19 Page 70 of 83 PageID #:771438


 1      exhibits going back, I have no objection.
 2                  MR. YOUNG: I've reviewed their exhibits, same.
 3            (Jury retired at 11:08 a.m. to deliberate on its
 4            verdict.)
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     Case: 1:17-cr-00281 Document #: 76 Filed: 01/18/19 Page 71 of 83 PageID #:772439


 1                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
 2                                 EASTERN DIVISION
 3                                             )
        UNITED STATES OF AMERICA,              )   Case No. 17 CR 281
 4                                             )
                           Plaintiff,          )
 5                                             )
                    vs.                        )   Chicago, Illinois
 6                                             )   December 6, 2018
        CARLOS R. MEZA,                        )   2:23 p.m.
 7                                             )
                           Defendant.          )
 8
 9                                  VOLUME 3
                     TRANSCRIPT OF PROCEEDINGS - Jury Trial
10              BEFORE THE HONORABLE ELAINE E. BUCKLO, and a Jury
11
        APPEARANCES:
12
        For the Plaintiff:             MR. JOHN R. LAUSCH, JR.
13                                     UNITED STATES ATTORNEY
                                       BY: MR. RICK D. YOUNG
14                                          MS. KAITLIN KLAMANN
                                       Assistant United States Attorneys
15                                     219 South Dearborn Street
                                       Chicago, Illinois 60604
16
        For the Defendant:             MR. JOSHUA B. KUTNICK
17                                     900 West Jackson Boulevard # 5
                                       Chicago, Illinois 60607
18
                                       AND
19
                                       LAW OFFICE OF MINA ZARDKOOHI
20                                     BY: MS. MINA ZARDKOOHI
                                       53 West Jackson Boulevard
21                                     Suite 1615
                                       Chicago, IL 60604
22
23      Court Reporter:                SANDRA M. MULLIN, CSR, RMR, FCRR
                                       Official Court Reporter
24                                     219 S. Dearborn Street, Room 2260
                                       Chicago, Illinois 60604
25                                     (312) 554-8244
                                       sandra_mullin@ilnd.uscourts.gov
     Case: 1:17-cr-00281 Document #: 76Jury
                                        Filed:question
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 1            (Proceeding heard in open court. Jury out.)
 2                  THE COURT: I better just -- I'll read it for the
 3      record, and then I'm going to just hand this over.
 4                  So, "Your Honor, we, the jury, have a question
 5      regarding Count One. The original 200,000 --" it says,
 6      "invested," obviously investment -- "by Scott Spencer, are we
 7      to take into account the events that occurred later in 2012,
 8      and into 2013, in regards to determining that Carlos Meza
 9      knowingly participated in a scheme to defraud Mr. Spencer of
10      this first $200,000, including his additional investments?
11      Thank you, foreman and jury, William Gora."
12                  MR. YOUNG: Judge, I think the answer to the
13      question is yes. I mean, the charge is an ongoing scheme.
14      They can consider evidence throughout the period of the
15      scheme. Obviously they need to find that he was knowingly
16      participating in the scheme at the time of the charged
17      execution and that he had the requisite intent to defraud, at
18      that time, but, yes, it is a -- it is a continuous course of
19      conduct, and they can consider evidence from the entire
20      period, both for purposes of determining, you know, his
21      intent -- his intent and knowledge to participate in the
22      scheme.
23                  THE COURT: Hand me the note. So to determine what
24      his intent was at that time.
25                  MR. KUTNICK: My suggestion, your Honor, would be
     Case: 1:17-cr-00281 Document #: 76Jury
                                        Filed:question
                                               01/18/19 Page 73 of 83 PageID #:774441


 1      just to advise them to -- that they've heard the evidence and
 2      to continue deliberating.
 3                  THE COURT: Well, that doesn't give an answer.
 4      Actually, it's a fair question.
 5                  MR. KUTNICK: So, your Honor, can I just ask? My
 6      interpretation of that is, they're asking, can they use other
 7      facts that they've heard in the trial to determine guilt or
 8      innocence on Count One, or state of mind.
 9                  THE COURT: Actually, I should pull out the
10      indictment. The indictment in Count One has to do --
11                  MR. YOUNG: With the May 2012 wiring.
12                  THE COURT: -- with Mr. Spencer, and the other one
13      has to do with --
14                  MR. YOUNG: Mr. Crane, yes. Count One, is the
15      May -- I forget the exact date, 16th or 19th, wiring of the
16      $200,000 by Mr. Spencer. Count Two is the $50,000 wiring by
17      Mr. Crane in September, 2012. The date is May 16th of 2012.
18                  THE COURT: Well, just briefly, a two-minute
19      version, take me through -- so -- what they're considering.
20      So they're considering these later, much -- actually, much
21      larger investment.
22                  MR. YOUNG: There were a series of false statements
23      made, you know, even after the wirings, including, for
24      example, lulling statements. Such as the, you know, the
25      statement about the Ecuadorian funds, and the like. I think
     Case: 1:17-cr-00281 Document #: 76Jury
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 1      their question is, can they consider that later evidence as
 2      evidence of his intent to defraud. And I believe the answer
 3      to that is, yes. All the evidence introduced in this period
 4      related to the time period of the scheme in the indictment.
 5      Those are not, you know, other facts.
 6                  I think you do need to qualify it and make clear
 7      that, you know, while they may consider evidence from
 8      throughout the scheme, they need to find that he possessed
 9      the requisite intent and had the requisite knowledge at the
10      time of the execution. But I think they can consider that
11      evidence in determining whether he possessed an intent to
12      defraud both then and during the earlier aspects of the
13      alleged scheme.
14                  THE COURT: Well, let me just ask what you would
15      say if -- what if, actually, he hadn't intended at the time?
16      What if he was just also incredibly gullible.
17                  MR. YOUNG: If he did not --
18                  THE COURT: And later -- but later, he realized, oh
19      gee, I've lost their money and -- and I don't want to tell
20      them, so what you're calling later statements of lulling.
21      Would you still say that that made him guilty of the fraud
22      there? I don't know that it --
23                  MR. YOUNG: I would not, your Honor.
24                  THE COURT: Okay. So that's why we would need to
25      make it very clear.
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 1                  MR. YOUNG: He must have the requisite intent --
 2                  THE COURT: At the time.
 3                  MR. YOUNG: -- at the time of the execution.
 4                  THE COURT: Right.
 5                  MR. YOUNG: And my position is they can consider
 6      the evidence from the entire scheme in determining whether or
 7      not he had that intent at that time. But, absolutely, I
 8      agree, your Honor, he must have that intent at the time of
 9      the charged executions.
10                  THE COURT: What would we -- how would we make that
11      clear, if we were going to -- I don't know that a simple --
12                  MR. YOUNG: I would propose -- oh, I'm sorry.
13                  THE COURT: I'm not sure that a simple yes would
14      adequately say what we're agreeing would be the law.
15                  MR. YOUNG: No, I agree, your Honor. I would
16      propose that: You may consider evidence from the entire
17      period of the alleged scheme in determining whether or not
18      the government has satisfied the elements of the offense.
19      However, you must find that the defendant -- that the
20      government -- that the defendant had the requisite knowledge
21      and intent as set forth in the elements at the time of the
22      charged execution; namely, May of 2012, and September of
23      2012. I don't have the exact dates.
24                  MR. KUTNICK: Judge, since I think this could
25      actually cut both ways for either side, I actually am
     Case: 1:17-cr-00281 Document #: 76Jury
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 1      agreeing with the prosecution.
 2                  THE COURT: Okay. Here. Do you need a piece of
 3      paper, or you have one? Why don't you see if you can write
 4      out --
 5                  MR. KUTNICK: There should be a succinct --
 6                  THE COURT: -- all of this and then see if you can
 7      agree.
 8                  MR. KUTNICK: Okay.
 9                  THE COURT: Maybe that would be the best way.
10                  MR. YOUNG: Judge, here is our proposal. The
11      writing is mostly mine, so I apologize in advance.
12                  MR. KUTNICK: I think the word "with" might have
13      been missing somewhere too.
14                  MR. YOUNG: Probably. Knowing me, probably.
15                  THE COURT: You know, I've never known, when I
16      looked at this this morning, I've never known wiring was a
17      word.
18                  MS. ZARDKOOHI: It is now.
19                  MR. KUTNICK: The verb is, to wire.
20                  THE COURT: If it's going to be from me, can we
21      just use -- is there a word?
22                  MR. YOUNG: I think if you want to substitute
23      something for wiring, I think that's fine, your Honor. I
24      don't think there would be an objection to that.
25                  MR. KUTNICK: No. I'm sure we could tinker with
     Case: 1:17-cr-00281 Document #: 76Jury
                                        Filed:question
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 1      the grammar.
 2                  THE COURT: It's a minor thing, but we could change
 3      it to wire transmissions, which is what you put later; right?
 4      Is that what the issue is? Or that's the time?
 5                  MR. YOUNG: Yes, the date in there, your Honor, is
 6      the date of the --
 7                  THE COURT: You may consider any evidence you heard
 8      in the trial in determining whether the government has met
 9      its burden of proof with respect to all of the elements of
10      the offense, including evidence that occurred after the date
11      of the alleged -- maybe what we should say $200,000
12      investment?
13                  MR. KUTNICK: Or wire transmission in Count One?
14                  THE COURT: Is that -- okay.
15                  MR. YOUNG: That's fine.
16                  THE COURT: However, you must find that the
17      defendant possessed the requisite mental state, namely
18      knowledge and with intent to defraud. Is that the way you
19      want to say it? Mental state, knowledge and -- why did you
20      put a "with?"
21                  MR. KUTNICK: And with intent to defraud.
22                  Oh, you can take out with, then, I guess. That
23      was --
24                  THE COURT: Whichever you want. At the time of the
25      alleged wire transmission, so you have a plural. Is it more
     Case: 1:17-cr-00281 Document #: 76Jury
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 1      than one?
 2                  MS. ZARDKOOHI: No, it's one.
 3                  MR. YOUNG: It should be singular.
 4                  MR. KUTNICK: One wire transmission.
 5                  THE COURT: On May 16, 2012, in order for him to be
 6      found guilty.
 7                  MR. KUTNICK: I don't know, Judge. Actually, as
 8      I'm hearing it, I just think the wording of -- I mean, I
 9      think it's correct, but I think that I would like to re-word
10      the second part of it.
11                  THE COURT: That's why it's always good to hear.
12                  MR. KUTNICK: Okay. So, your Honor, the way I
13      would -- I would switch it, for my position, is, I would say,
14      however, you must -- however, if you find that the defendant
15      did not possess the requisite mental state, namely, knowledge
16      and intent to defraud at the time of the alleged wire
17      transfer on May 16, 2012, then you must find him not guilty.
18                  MR. YOUNG: Of that count. That's fine.
19                  MR. KUTNICK: Of that count, yes.
20                  MR. YOUNG: Of Count One.
21                  THE COURT: Okay. Did you change it?
22                  MS. ZARDKOOHI: Just one second, Judge.
23                  THE COURT: You can take as long as you want, but I
24      have known jurors to come back with verdicts while people
25      were going over -- arguing about language.
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 1                  MR. KUTNICK: Okay.
 2                  THE COURT: Are you changing it again?
 3                  MR. KUTNICK: No.
 4                  MS. ZARDKOOHI: No, just that last sentence.
 5                  THE COURT: All right. This is what, we will just,
 6      to confirm, this is what you've agreed on because I will get
 7      it typed.
 8                  Yes, you may consider any evidence you heard in the
 9      trial in determining whether the government has met its
10      burden of proof with respect to all of the elements of the
11      offense, including evidence that occurred after the dates of
12      the alleged wire transmission in Count One.
13                  However, if you do not find that the defendant
14      possessed the requisite mental state, namely, knowledge and
15      intent to defraud, beyond a reasonable doubt at the time of
16      the alleged wire transmission on May 16, 2012, you must find
17      him not guilty.
18                  Is that agreed, that this is what I should send
19      back to them?
20                  MR. YOUNG: It's agreed by the government, your
21      Honor.
22                  MR. KUTNICK: Agreed by defense.
23                  THE COURT: Okay. I'll get it typed and have
24      somebody give the jury the note. Thank you.
25                  MR. KUTNICK: Thanks, Judge.
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                                           Verdict


 1                  THE COURT: Okay. Thank you.
 2                  It would probably be best if you stayed around. I
 3      find that, once juries start to ask questions, they sometimes
 4      ask more.
 5                  MR. KUTNICK: We're across the hall.
 6                  THE COURT: Okay.
 7            (In open court. Jury in at 3:42 p.m.)
 8                  THE COURT: Please be seated.
 9                  Mr. Gora, do you speak for the jury?
10                  THE FOREPERSON: Yes.
11                  THE COURT: Has the jury reached a unanimous
12      verdict?
13                  THE FOREPERSON: Yes, your Honor, we have.
14                  THE COURT: All right. Then if you could just hand
15      up the verdict.
16                  All right. I am now going to read the verdict.
17      Please pay close attention to it, as you may be asked whether
18      the verdict as published constitutes your individual verdict
19      in all respects.
20                  With respect to the following charges in the
21      indictment, we, the jury, find defendant Carlos Meza:
22                  Count One, not guilty.
23                  Count Two, guilty.
24                  It is signed by all of the jurors.
25                  Does anybody wish to have the jury polled?
     Case: 1:17-cr-00281 Document #: 76 Filed: 01/18/19 Page 81 of 83 PageID #:782449
                                           Verdict


 1                  MR. KUTNICK: Yes, your Honor, I do.
 2                  THE COURT: Okay. Tawana Dearing, does the verdict
 3      as published constitute your individual verdict in all
 4      respects?
 5                  JUROR DEARING: Yes, it does.
 6                  THE COURT: Donald Longmire, does the verdict as
 7      published constitute your individual verdict in all respects?
 8                  JUROR LONGMIRE: Yes, it does.
 9                  THE COURT: Javier Passeri, does the verdict as
10      published constitute your individual verdict in all respects?
11                  JUROR PASSERI: Yes, it does.
12                  THE COURT: Jeseyra Alcantar, does the verdict as
13      published constitute your individual verdict in all respects?
14                  JUROR ALCANTAR: Yes, it does.
15                  THE COURT: Andrea Caruso, does the verdict as
16      published constitute your individual verdict in all respects?
17                  JUROR CARUSO: Yes.
18                  THE COURT: Alexander Chavez, does the verdict as
19      published constitute your individual verdict in all respects?
20                  JUROR CHAVEZ: Yes.
21                  THE COURT: Kevin Novy, does the verdict as
22      published constitute your individual verdict in all respects?
23                  JUROR NOVY: Yes, it does.
24                  THE COURT: William Gora, does the verdict as
25      published constitute your individual verdict in all respects?
     Case: 1:17-cr-00281 Document #: 76 Filed: 01/18/19 Page 82 of 83 PageID #:783450
                                           Verdict


 1                  JUROR GORA: Yes, your Honor.
 2                  THE COURT: Yolanda Bell, does the verdict as
 3      published constitute your individual verdict in all respects?
 4                  JUROR BELL: Yes, your Honor.
 5                  THE COURT: Lynn Sturznickel, does the verdict as
 6      published constitute your individual verdict in all respects?
 7                  JUROR STURZNICKEL: Yes, it does.
 8                  THE COURT: Wyndell Robinson, does the verdict as
 9      published constitute your individual verdict in all respects?
10                  JUROR ROBINSON: Yes, your Honor.
11                  THE COURT: Karen Gatewood, does the verdict as
12      published constitute your individual verdict in all respects?
13                  JUROR GATEWOOD: Yes, it does.
14                  THE COURT: All right. In that case, I will ask
15      the clerk to file the verdict, and we will enter the verdict
16      as it has been rendered.
17                  I want to thank you, all of you, very much for your
18      service, for your attention, and for your careful
19      consideration of all of the evidence.
20                  I will follow you back to your jury room. I
21      promise not to keep you for any length of time at all, but I
22      do have some certificates I'd like to give you, and I'd like
23      to individually thank you. I will be right there.
24                  All right. Thank you.
25                  COURT SECURITY OFFICER: All rise.
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 1            (Jury out at 3:46 p.m.)
 2                  THE COURT: So I should set -- Maria will give you
 3      a time and --
 4                  THE CLERK: Sentencing set for February 28, 2019,
 5      at 10:30. Defendant's sentencing memorandum and objections
 6      due February 14th. Responses due February 21st.
 7                  THE COURT: All right.
 8                  MR. YOUNG: Thank you, Judge.
 9                  THE COURT: Thank you. It's nice to have people
10      who are very confident and very polite and I think respectful
11      of the jury and of everybody before me. So thank you very
12      much.
13                  MR. KUTNICK: Thank you, your Honor.
14                  MR. YOUNG: Thank you, Judge.
15            (Which were all the proceedings heard.)
16                                     CERTIFICATE
17            I certify that the foregoing is a correct transcript
18      from the record of proceedings in the above-entitled matter.
19
20      /s/ SANDRA M. MULLIN                              January 11, 2018
21      SANDRA M. MULLIN, CSR, RMR, FCRR
        Official Court Reporter
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